        Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 1 of 99 Page ID #:1


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                                                            CENTRAL DISTRICT OF
   3                                                        BY                  CALIFORNIA
                                                                   '~1Q.           DEPUTY

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                               UNITED STATES DISTRICT COURT

             CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION
  8

  9
         UNITED STATES OF AMERICA,ex           CASE NO.:g~ZIGV~Iyy-C3C~ DF1`~X
io       rel. IAN ISAACSON,an individual,
                                               COMPLAINT FOR MONEY
ii                                             DAMAGES FOR VIOLATIONS OF
                           P 1 aintiff,        THE FALSE CLAIMS ACT AND
12                                             FINANCIAL INSTITUTIONS
                      v.
                                               REFORM,RECOVERY AND
13                                             ENFORCEMENT ACT OF 1989
14       AMERICAN FINANCIAL                    FILED UNDER SEAL PURSUANT
         NETWORK,INC., a California            T   RDER F THE      URT
15                                             DATED JUNE 10, 2021
         corporation; JOHN SHERMAN,an
16       individual; JACK SHERMAN,an
         individual, JONATHAN GWIN; an
i~       individual; and TWYLAY HANKINS,
1.8      an individual

,~ it                      Defendants.
Zo
21

22

23

29

25
            COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 1
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 2 of 99 Page ID #:2


                                                          CLERK, U.S. DISTRICT
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12                         UNITED STATES DISTRICT COURT
13
          CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION
14
      UNITED STATES OF AMERICA,ex           CASE NO.:B•~~I~vllyy-CJ~,- p~Mx
15
      rel. IAN ISAACSON,an individual,
                                            COMPLAINT FOR MONEY
16                                          DAMAGES FOR VIOLATIONS OF
                        Plaintiff,          THE FALSE CLAIMS ACT AND
i~                                          FINANCIAL INSTITUTIONS
                                            REFORM,RECOVERY AND
                   v.
18                                          ENFORCEMENT ACT OF 1989
19    AMERICAN FINANCIAL                    [DEMAND FOR TRIAL BY JURY]
      NETWORK,INC., a California
20
      corporation; JOHN SHERMAN,an
21    individual; JACK SHERMAN,an
      individual, JONATHAN GWIN; an
22
      individual; and TWYLAY HANKINS,
23    an individual

24                      Defendants.
25
         COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 2
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 3 of 99 Page ID #:3




                                           TABLE OF CONTENTS
 i
      JURISDICTION AND VENUE...................................................................5
 2

 3
     SUMMARY INTRODUCTION...................................................................7

 4   THE PARTIES.......................................................................................12

5     RELEVANT STATUTES TO COMBAT MORTGAGE FRAUD.......................1 ~

 6   FACTUAL ALLEGATIONS RELATED TO ALL CAUSES OF ACTIONS..........16

 7   DEFENDANTS RETALIATED AGAINST MR.ISSACSON BY
     WRONGFULLY TERMINATED HIM AFTER HE
 8   REPORTED AFN'S UNLAWFUL BUSINESS PRACTICES..........................22
 9
     FHA MORTGAGE INSURANCE PROGRAM.............................................2>
to
                     A. Overview of the FHA Mortgage Insurance Program, the
~l                      DE Program,and the LI Program........................................25

12                   B. Lenders Must Submit Truthful Certifications..........................28

13                   C. Lenders Must Use Qualified Underwriters..............................29
                     D. Lenders Must Perform Proper Due Diligence and
14                      Ensure Accuracy..............................................................30

15                   E. FHA Requires Lenders to Certify Their Compliance with
                        Their Programmatic Responsibilities.....................................37
16

l~                   F. HUD regulations prohibit the unlawful "net branching" and
                        require HUD-approved lenders to pay all operating expenses
18                      for its branches and forbade lenders from shifting liability of
                        those expenses to the branch or its employers............................42
19
                     G. HUD regulations prohibit the unlawful "virtual              branching"......43
20
              I.      AFN'S PARTICPATION IN THE FHA PROGRAM.....................-17
21
                     A.      AFN Directly Endorsed FHA Loans, Many of Which
22
                             Have Defaulted, Requiring FHA to Pay Substantial
                             Insurance Claims.........................................................47
23

24
                     B. AFN Certified That it Complied With HUD
                        Requirements to Gain and Maintain Eligibility
25                      in the DE Program......................................................48
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 3
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 4 of 99 Page ID #:4




      EXAMPLES OF DEFENDANTS UNLAWFUL BUSINESS PRACTICES............~ll

           II.   AFN UNLAWFUL BUSINESS PRACTICES
                 INTENTIONALLY DEFRAUTED HUD,FHA INSURANCE,
                 INSTITUTIONAL INVESTORS AND CUSTOMERS...................,()

                 A.    AFN's Intentional Unlawful Conduct Violated HUD Rules
                       and Requirements Governing the Origination and
                       Underwriting of FHA Insured Mortgages
                       by Falsifying Documents and Providing
                       False Annual Certifications to HUD....................................~0

                 B.    AFN's Wrongful Conduct Violated Specific HUD Rules
                       and Requirements Governing the Origination and
                       Underwriting of FHA Insured Mortgages by
                       altering the Encompass Date Tracking................................~3

io         III. AFN'S REFERRAL DESK PROGRAM INTENTIONALLY
                VIOLATED STATE AND FEDERAL LAWS BY DEFRAUDING
ii              THE FEDERAL GOVERNMENT...............................................~7

12               A.     AFN Unlawfully Allowed Unlicensed Employees,
                        Including Full-Time Direct Endorsement Underwriters,
,~
                         to Originate Residential Home Loans and Be
                        Directly Compensated..................................................57
i4

15               B.    AFN's Referral Desk Training Program
                       unlawfully originated residential home loans
16                     by allowing unlicensed AFN employees to
                       communicate terms and conditions and negotiate
i~                     residential home loans throughout the United States
                       without a valid Branch License and a valid
l~                     Mortgage Loan Originator(MLO)License........................60
ly
                 C.    AFN Referral Desk Program compensated
20                     unlicensed AFN employees and incentives
                       its unlicensed employees to originate residential
21                     home loans................................................................62

22         IV.   AFN MISREPRESENTED ITS LOAN ORIGINATION
                 SERVICES TO UNITED STATES VETERANS BY
G
                 KNOWINGLY DECEIVING AND PROMOTING
                 LOAN CHARACTERISTICS THAT COULD
24
                 NOT BE SATISFIED AND WERE UNLAWFUL.......................6,
25
         COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 4
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 5 of 99 Page ID #:5




             V.      AFN FAILED TO REPORT OR DISCLOSE A LARGE
                     DATA CREDIT DATA THEFT OF ITS CURRENT AND
                     PAST CONSUMERS,INCLUDING THEIR CREDIT
                     REPORT DATA AND PERSONAL INFORMATION...................69

             VI.     AFN UNLAWFULLY SHARED CONFIDENTIAL
                     CONSUMER DATA TO ITS BRANCH OFFICE
                     FOR PROFIT,CAUSING HARM TO ITS CUSTOMERS
                     AND IN VIOLATION OF STATE AND FEDERAL LAW..............7~

             VII.    THIRTY PERCENT(30%)OF AFN'S UNLAWFUL
                     BUSINESS REVENUE DERIVES FROM FOUR INTERNAL
                     DIVISIONS THAT WERE FORMED BY JOHN SHERMAN.........77

             VIII. AFN UNLAWFULLY TERMINATED ITS FORMER
                   DIRECT ENDORSEMENT UNDERWRITER, TO WIT,
                   IKAKYI GONZALEZ,FOR HIS REFUSAL TO SIGN
to                 KNOWINGLY FRAUDULENT DOCUMENTS ON BEHALF
                   OF AFN TO BE SUBMITTED TO HUD AND THE
11                 UNITED STATES DEPARTMENT OF VETERANS
                   AFFAIRS UNDER PENALTY OF PERJURY,
12                 AND THEN THEREAFTER PLANNED A COVER
                   UP OF HIS WRONGFUL TERMINATION.................................78
13
             IX.     AFN UNLAWFULLY CHARGED AFN BRANCH
14
                     MANAGERS,INCLUDING MR.ISAACSON,FOR
15
                     AFN'S EARLY PAYMENT DEFAULTS(EPD)
                     AND EARLY PAYOFF PENALTIES(EPO)CAUSED
16                   BY AFN'S INCONSISTENT AND IMPROPER
                     UNDERWRITING PROCESS..................................................79
1~
             IV.     AFN INTENTIONALLY ALTERED IT INTERNAL
18                   LOAN ORIGINATION SYSTEMS(ENCOMPASS)TO
                     AVOID DISCLOSING THEIR TERMS AND CONDITIONS
i9                   WITHIN THE THREE(3)DAY TIME PERIOD FOR
                     DISCLOSING AND TO REDUCE SHIPPING COSTS
20                   REQUIRED BY LAW WHEN A
                     CONSUMER DOES NOT E-CONSENT.....................................80
21

22    CAUSES OF ACTIONS...........................................................................83

23   PRAYER FOR RELIEF...........................................................................96

24

25
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 5
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 6 of 99 Page ID #:6




            COMES NOW plaintiffIAN ISAACSON (hereafter,"Mr. Isaacson" or
 i
 2   "Plaintiffl'), who brings this qui tam action in the name of the United States of

 3
      America, by and through his undersigned attorney, Jeffrey G. Jacobs, Esq., of The
 4
      Law Office of Jeffrey G. Jacobs and James D. White of The Law Office of James
 5

 6
      D. White, against defendants AMERICAN FINANCIAL NETWORK,INC.,

      JOHN SHERMAN,JACK SHERMAN,JONATHAN GWIN and TWYLA
 8
      HANKINS,and each ofthem (collectively, the "Defendants"), and hereby alleges
 9
      as follows.
io
ii                              JURISDICTION AND VENUE

12          1.      This action arises under the False Claims Act, 31 U.S. C. § 3729 et
13
      seq., U.S.C. §§ 1331 and 1345 and the Court's general equitable jurisdiction.
14
            2.      This Court maintains subject matter jurisdiction over this action
15

16    pursuant to 31 U.S.C. § 3732(a)(False Claims Act) and 28 U.S.C. § 1331 (Federal

17
      Question).
is
            3.      Venue is proper in this Court pursuant to 31 U.S.C. § 3732(a) because
19

      AFN transacts business in this district and did so at all times relevant to this
20

21    complaint; and, as averred below, and AFN committed acts proscribed by 28
22
      U.S.C. § 3729 -acts giving rise to this action —within this jurisdiction.
23
            4.      Upon the filing of hereof, Mr. Isaacson will serve a copy of this
24

25
      Complaint upon the Attorney General of the United States and the United States
         COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 6
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 7 of 99 Page ID #:7




      Attorney for the Central District of California —Santa Ana Division, together with
 i
 2    a written disclosure statement setting forth and enclosing all material evidence and
 3
      information Mr. Isaacson possesses, pursuant to the requirements of 31 U.S.C. §
 4
      3730(b)(2).
 5

 6
             5.     Mr. Isaacson has complied with all other conditions precedent to

      bringing this action.
 s
            6.      During and following this tenure with AFN, Mr. Isaacson acquired
 9
      firsthand knowledge of the false claims by AFN described below. Each described
io
ii    acts) and/or- omissions) was knowingly committed by AFN in an attempt to

12   secure federal funds through HUD or in an attempt to retain federal funds already
13
      paid it and to avoid disgorgement of those funds. Mr. Isaacson is the original
14
     source of, and has direct and independent knowledge of, all publicly disclosed
15

16   information on which any allegation herein might be deemed based, and he has

17
     voluntarily provided such information to the Government immediately upon filing
18
     this action. The undersigned counsel shall provide a copy of this complaint and
19

     disclosure letter to the United States Attorney General and the United States
20
21    Attorney for the Central District of California.
22
     ~~~

23
     ~~~
29

     ~~~
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
           INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 7
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 8 of 99 Page ID #:8




                               SUMMARY INTRODUCTION

 2          7.     This is a civil fraud action by qui tam plaintiffIAN ISAACSON,on
 3
      behalf of the United States of America, against AFN and its named executives to
 4
      recover treble damages and civil penalties under the False Claims Act, as am
 5

 6
      31 U.S.C. § 3729 et seq., and civil penalties under the Financial Institutions Re

      Recovery, and Enforcement Act of 1989("FIRREA"), 12 U.S.C. § 1822a, arising
 s
     from fraud on the United States Department of Housing and Urban Development
 9
     ("HUD")in connection with AFN's origination of residential mortgage loans
to
it    underwritten and approved by AFN and endorsed for Federal Housing

12    Administration("FHA")insurance between in or about January 2017 to March 20,
13
      2020(the "Lending Time Period").
14
            8.     This is the story of brazenly unlawful corporate greed, which no
15

16   federal or state governmental agency, private financial institution and/or the

17
      general public would have ever discovered, butfor the high position that Mr.
18
      Isaacson held while employed at AFN, which allowed him to witness the inter-
19

      workings ofthe company's underlying illegal business practices. Although Mr.
Zo
21    Isaacson internally complained about(and questioned these unlawful practices on
22
      numerous occasions to AFN executives, as detailed below, he was ultimately
23
      wrongfully terminated in retaliation for his repeated complaints.
24

25
            9.     AFN is anon-depository mortgage company that, from 2001 to
         COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 8
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 9 of 99 Page ID #:9




      present, originated mortgages nationwide. It is among the largest non-bank
 1
 2    mortgage origination companies in the United States.

 3
            10.     On or about January 1, 2017, Mr. Isaacson was offered and accepted
 4
      the position to operate and manage an AFN's branch office (#4140)located in
 5

 6
      Lake Forest, California, as AFN's Branch Manager. As with any licensed Branch ~

      Manager, Mr. Isaacson expected AFN to comply with HLJD/FHA guidelines. As
 8
      detailed above, HUD guidelines required AFN to ultimately be responsible for all
 9
      of operating expenses, including compensation, leases and equipment costs for all
io
ii    the branch offices.

12          1 1.    Shortly after beginning his employment, Mr. Isaacson became aware
13
      that AFN was committing numerous improper, illegal and unethical business
14
      practices against various agencies, departments and branches of the United States
15

16    government and the State of California, including against its private institutional

17
      investors and customers nationwide (including, hundreds of United States
18
       Veterans).
19

            12.     At that time, AFN represented itself as one of the fastest growing
20

~i    mortgage bankers in the United States resulting from creating its own
22
      "community based" branches across the nation. In this regard, AFN claims to
23
      have "...built its reputation as an outstanding mortgage bankingfirm by
29

25
      serving the lending needs ofreal estate professionals, builders, and individual
         COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 9
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 10 of 99 Page ID #:10




       homebuyers throughout the United States." Its showcased "core values," as
 i
 2    ~ alleged on the company website, include a streamlined and efficient residential ~
 3
       home loan business operation that optimizes organizational output and an
 4
       approach to customer service founded on exceeding expectations.
 5

 6
             13.   AFN's "core value" promises, however, were nothing more than

       strategically planned cover-ups of years of egregious unlawful business practices
 8
       directed by a select few AFN executives(somefamily related, who controlled
 9
       AFN's day-to-day business operations during at least from the start of Mr.
io
ii     Isaacson's employment and continuing to present. These AFN executives include,

is     but are not limited to the following individuals:
13
            •      Jack Sherman (AFN's Founder and Chief Executive Officer);
14
            •      John Sherman (AFN's President);
15

16          •      Jonathan Gwin (AFN's Chief Operating Officer);

17          •      Twyla Hankins(AFN's Executive Vice President of Operations);
18
            •      Susie Sensenbach (AFN's Director of Human Resources);
19
            •      Michael VaVerka (AFN's Referral Desk President, Referral Desk
20
                        Loan Officer, Division President and Division Manager);
21                      and/or
22
            •      Jonathan Carrico(AFN's Refet-ral Desk Loan Officer/Manager).
23
             14.   Over the course of Mr. Isaacson's employment tenure at AFN, it
24

25
       became blatantly apparent that some and/or all of the above-referenced AFN
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 10
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 11 of 99 Page ID #:11




       executives were unlawfully conducting and/or directing AFN's business operati
 i
 2    (at times, intentionally), thereby blatantly violating numerous federal and/or states

 3
       laws, rules, regulations, guidelines and/or statutes governed, administered and
 4
       prosecuted by the following governmental agencies:
 5

            • The United States Department of Housing and Urban Development
            ~«~D»~.

            • The Federal Housing Administration ("FHA");
            • The United States Department of Agriculture("USDA");
 9
            • The United States Department of Veteran Affairs ("VA");
io
            • The Consumer Financial Protection Bureau ("CFPB");
11
            • The Federal Trade Commission ("FTC"), specifically, Section 5 Unfair
12
                     or Deceptive Acts or Practices("UDAP"); and/or
13
            • The California Department of Consumer Affairs("CDCA").
14
             Mr. Isaacson was in disbelief upon discovering the company's illegal
15
       business practices. These same unlawful business activities committed and
16
       continue to be committed by AFN, were also violations (breaches) of AFN's
i~    financial obligations to its private institutional investors, all of whom remain
is     unaware of said illegal business practices since AFN illegally (and secretly)
19    covered up its unlawful behavior. AFN's private institutional investors affected by
ao     its illegal business practices include, but are not limited to the following:
21             • PennyMac Corporation,
22             • Wells Fargo, N.A.,

23             • Flagstar Bank,

24
               • Plaza Home Mortgage, Inc.,

25
               • The Money Source,
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 11
      Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 12 of 99 Page ID #:12




                • CMG Financial, Impac,
 i
                • Citibank, N.A.,
 z
                • Ditech Financial, LLC,
 3
                • Newrez, Inc.,
 4
                • Calber Home Loans, Inc.,
 5
                • JP Morgan Chase,
 ;;
                • Freedom Mortgage,
                • Home Pointe Financial,
 8
                • Mr. Cooper,
 9
                • First Guaranty Mortgage Corporation,
io              • AmeriHome Mortgage Company,LLC,
11
                • Texas Capital Bank,
12              • PHH Mortgage Corporation,
13              • BB&T Bank, Northpointe Bank, Fannie Mae("FNMA")and
14              • Ginnie Mae("GNMA").
15             15.   As a result of AFN's unlawful business practices, including reckless
16
        mortgage lending practices, which AFN concealed for years, it has resulted in tens
17
        of millions of dollars of illegal profit that continues to present. In addition, it
18

19
        allowed AFN to avoid having to pay millions of dollars in fines and penalties from

Zo      various federal and state agencies, including HUD,FHA, VA,CFPB,FTC and/oi~
21
        CDCA.
z2
              16.    On numerous occasions during Mr. Isaacson's employment tenure at
23

29      AFN,and while he was under the direct supervision ofsome and/or all of the

25      above-referenced AFN executives including specifically Jack Sherman(AFN's
           COMPLAINT FOR VIOLATIONS'OF FALSE CLAIMS ACT AND FINANANCIAL
           INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 12
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 13 of 99 Page ID #:13




       Founder and Chief Executive Officer) and John Sherman(AFN's President), Mr.
 i
 2     Isaacson internally complained (and/or questioned) AFN's illegal, improper and
 3
       unethical business practices. In response, he was either asked to go along with
 4
       business as usual or was told the matter in question would be corrected, which
 5

 6
       never occurred. AFN's unlawful business practices continued despite Mr.

      Isaacson's internal questioning.
 s
             17.    Mr. Isaacson's first-hand knowledge of AFN's continued illegal
 9
       business operation, coupled with his ongoing internal complaints forced AFN to
io
ii     ultimately terminate him in retaliation for his attempts to correct the unlawful

12     business activity that he was witnessing.
13
                                         THE PARTIES
14
             18.    Plaintiff Ian Isaacson is an individual and resident ofthe County of
15

16    Orange and citizen of the State of California. Furthermore, Mr. Isaacson was and

17
      continues to be a licensed and registered California real estate broker, including
18
       with the Nationwide Multistate Licensing System &Registry.
19

             19.    AFN is a California corporation, organized under the laws of the State
Zo
21    of California, operating at its primary place of business located at 10 Pointe Drive,
22
      Suite #330, in the City of Brea, State of California. AFN is a non-bank mortgage
23
      origination company which has been in business for over 20 years. AFN has been
24

25
      and continues to be a nationwide real estate mortgage banking firm with customers
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          [NSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 13
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 14 of 99 Page ID #:14




       throughout the entire United States. On its company website, it boasts that its
 i
 2    "Mission is to be the best, most trusted, and admired mortgage lenders with
 3
       unique, affordable and convenient products while maintaining a close,family-
 4
       oriented culture." AFN is among the largest non-bank mortgage origination
 5

       companies in the United States.

             20.    Co-Defendant JOHN SHERMAN,is an individual residing in the
 s
       County of Orange and at all relevant times President of AFN. Upon information
 9
       and belief, Mr. Sherman is domiciled in California. Mr. Sherman, along with the
io
ii     other individual named defendants listed below, personally informed Mr. Isaacson

12     that AFN intended to enforce, and had in the past enforced, its unlawful de facto
13
       net branch operations schemes against AFN branch managers to be held personally
14
       liable for branch profitability and losses in violation of HUD regulations, in
15

16     addition to the other name unlawful unethical business practices that it caused

17
       AFN to perform, all for its ill-gotten monetary gain.
18
             21.    Co-Defendant JACK SHERMAN,is an individual residing in the
19

       County of Orange and current Founder and Chief Executive Officer of AFN.
20
21     Upon information and belief, Mr. Sherman is domiciled in California.
22
             22.    Co-Defendant JONATHAN GWIN,is an individual residing in the
23
       County of Orange and at all relevant times AFN's Chief Operating Officer. Upon
24

25
       information and belief, Mr. Gwin is domiciled in California.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 14
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 15 of 99 Page ID #:15




               23. Lastly, Co-Defendant TWYLA HANKINS,is an individual residing
 i
 2     in the County of Orange and at all relevant times AFN's Executive Vice President

 3
       of Operations. Upon information and belief, Ms. Hankins is domiciled in
 4
       California.
 5

               24.   Co-Defendants AFN,JOHN SHERMAN,JOHN SHERMAN,

       JONATHAN GWIN and TWYLA HANKINS are herein after collectively referl-ed ~
 8
       to as the "Defendants."
 9
               25.   Mr. Isaacson is informed and believes, and on that basis alleges, that
io
ii     the individual named defendants sued herein were responsible for AFN's unlawful

12     conduct alleged herein, including but not limited to the false claims on which these
13
       claims are based. Mr. Isaacson is further informed and believes, and on that basis
19
       alleges, that each named individual defendant conspired and acted in concert with
15

16     each other to commit the wrongs against alleged herein, and in doing so were at all

17
       relevant times the agents, servants, employees, principals,joint venturers, alter
18
       ego, and/or partners of each other. Mr. Isaacson is further informed and believes,
19

       and on that basis alleges, that in doing the things alleged in this Complaint, each
Zo
21     named individual defendant was acting within the scope of authority conferred
22
       upon that Defendant by the consent, approval and/or transaction ofthe other
23
       individually named defendants, whether said authority was actual or apparent.
29

       ~~~
25
              COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
             INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 15
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 16 of 99 Page ID #:16




               RELEVANT STATUES TO COMBAT MORTGAGE FRAUD

 2           26.    The False Claims Act provides liability for any person (i) who
 3
      "knowingly presents, or causes to be presented, a false or fraudulent claim for
 4
       payment or approval;" or (ii) who "knowingly makes, uses, or causes to be made
 5

 6
       or used, a false record or statement material to a false or fraudulent claim." 31

       U.S.C. § 3729(a)(1)(A)-(B).
 8
             27.    The False Claims Act further has provided, at all times pertinent to
 9
       this action, that for persons who violate the Act: "[such person] is liable to the
to
it     United States Government for a civil penalty of not less that [$5,500] and not more

12     than [$22,363]...plus three(3)times the amount of damages which the
13
       Government sustains because of the act of that person...." 31 U.S.C. § 3729(a).
14
             28.    Congress enacted FIRREA in 1989 to reform the federal banking
15

16     system. Toward that end, FIRREA authorizes civil enforcement of enumerated

17
       criminal predicate offenses - - as established by a preponderance of the evidence -
is
      that affect financial institutions and certain government agencies. See 12 U.S.C. §
19

       1833(e). To of the predicate offenses that can form the basis of liability under
Zo
21    FIRREA are relevant here. First, 18 U.S.C. § 1006 prohibits any person, who is
22
      "connected in any capacity with [HUD]" from "mak[ing] any false entry in any
23
       book, report or statement of or to [HL1D]" with the "intent to ... deceive any
24

25
      officer, auditor, examiner, or agent ... of[a] department or agency ofthe United
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 16
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 17 of 99 Page ID #:17




       States." Second, 18 U.S.C. § 1014(as amended on July 30, 2008)prohibits any
 i
 2     person from "knowingly making] any false statement or report ... for the purpose

 3
       of influencing in any way the action of[FHA]." Id.
 4
             29.    FIRREA provides that the United States may recover civil penalties
 5

 6
       up to $l million per violation, or, for a continuing violation, up to $5 million or $1

       million per day, whichever is less. The statute further provides that the United
 s
       States can recover the amount of any gain to the person committing the violation,
 9
       or the amount of the loss to a person other than the violator stemming from such
io
ii     conduct, up to the amount ofthe gain or loss.

12      FACTUAL ALLEGATIONS RELATED TO ALL CAUSES OF ACTIONS
13
             30.    AFN is a lender approved by United States Department of
i4
      Housing and Urban Development("HUD")to originate and underwrite single-
15

16    family residential mortgage loans insured by Federal Housing Administration

17
      ("FHA"), knowingly approved loans that violated FHA rules while falsely
is
      certifying compliance with those rules during the Lending Time Period. AFN's
19

      conduct allowed it to reap financial benefits from those loans,even ifthe borrowers
Zo
21     defaulted on their mortgages, while placing all the risk arising from those loans on
22
      FHA -- a risk that resulted in tens of millions of dollars of losses to HUD.
23
             31.   FHA promotes American homeownership through its "Direct
24

25
      Endorsement Lender" program or "DE Program". Under this program, FHA
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 17
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 18 of 99 Page ID #:18




       insures loans so long as they satisfy certain requirements. For these loans, FHA
 i
 a     guarantees that mortgage holders will suffer no loss if the borrower ultimately

 3
       does not repay the loan. This program encourages lenders to extend loans to
 4
       creditworthy low- and moderate-income families as well as first-time homebuyers.
 5

 h           32.    Under the DE Program, lenders known as Direct Endorsement

       Lenders (or "DE Lenders") apply for the responsibility to determine whether loans

       satisfy the requirements for FHA insurance. Because DE Lenders are permitted to
 9
       endorse loans for FHA insurance without prior HUD review, HUD requires these.
io
ii     lenders to conduct due diligence on loans before endorsing them for FHA

12     insurance and relies on the truthfulness of such lenders' loan specific certifications
13
       in extending mortgage insurance. Any lender participating in the DE Program is
14
      expected and obligated to act with good faith, honesty, and fairness in its dealings
15

16     Wlth HUD.

17
             33.    HUD's underwriting requirement ensure that creditworthy borrowers
18
       are able to handle monthly mortgage payments and become lasting homeowners
19

       while also protecting HUD and the taxpayers from improperly underwritten and
Zo
21     unduly risky unlawful loans. AFN underwriting of ineligible loans and false
22
      j certifications of compliance with applicable requirements undermine these
23
      objectives, harming homeowners, the housing market, and the United States.
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 18
       Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 19 of 99 Page ID #:19




               34.    AFN unlawfully failed to meet the obligations of its participation in
  1
  a      the DE Program, and its management instituted and encourage practices that led
  3
         underwriters to violate HUD rules and to approve ineligible loans.
  4
               35.    AFN's originations almost doubled between 2017 and 2008 and
  5

  6
         more than doubled between 2018 and 2019. During these years of massive growth,

         AFN's top management consistently prioritized financial profits at the expense
  s
         prudent underwriting.
  9
               36.    AFN accomplished its rapid growth through aggressively recruiting
io
li       and purchasing new branches to originate more loans. But AFN's audits of its

12       branches showed consistent patterns of risk emerging from the branches. More
13
        than a third (or, 39 percent) of its branches during the Lending Time Period were
i4
        found to impose a "serious impact or risk to AFN" and AFN auditors discovered
15

16      "serious concerns" about certain branches' lack of knowledge and/or controls.

17
               37.    AFN established a culture that valued getting a loan approved and
is
        endorsed for FHA insurance over complying with FHA's rules. AFN's aim was
19

        to shift risk from AFN to HUD on the mortgages it originated while making
Zo
2 1.     profits on those loans largely by selling them to institutional investors.
22
               38.    AFN allowed and encouraged reckless origination and underwriting
23
         practices in the pursuit of growth including waiving mandatory conditions during
24

25
        the underwriting of FHA loans, allowing unqualified junior underwriters without
             COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 19
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 20 of 99 Page ID #:20




       ICE certifications to underwrite FHA loans, performing untimely and incomplete
 i
 2     quality control reviews, and ignoring quality control findings.
 3
             39.    AFN's own quality control vendors found significant deficiencies in
 4
      21 percent of the FHA loans they reviewed during the Lending Time Period and
 5

 6
      found over half the FHA loans reviewed during the Lending Time Period

       contained significant or moderate deficiencies, including violations of FHA
 8
       underwriting requirements.
 9
             40.   AFN allowed its underwriters to waiver required loan conditions,
io
ii     including conditions that were mandatory FHA requirements. These conditions

12    could be and were waivered in an underwriter's discretion without any review or
13
      approval by management.
14
             41.   AFN also created a position called a "junior underwriter" to assist DE
15

16    certified underwriters. On FHA loans that AFN manually underwrote, where FHA

17
      requires all underwriting by a DE underwriter, AFN allowed junior underwriters to
is
      clear underwriting conditions. While the use ofjunior underwriters itself violates
19

      FHA requirements, AFN's practices further compounded its violations as junior
20

21    underwriters often ignored and violated FHA guidelines when clearing conditions.
22
             42.   AFN was aware of its unlawful business activity concerning its
23
      systematic problems, but ignored the problems and failed to take appropriate steps
24

25
      to remedy them consistent with its obligations to HUD. Indeed, AFN implemen
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 20
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 21 of 99 Page ID #:21




       a quality control process that failed to adequately assess its compliance with FHA
 1
 2     requirements. AFN consistently performed quality control late and failed to report
 3
       quality control results to management in many quarters during the Lending Time
 4
       Period.
 5

 6
             43.    Despite having an obligation to report all materially defective loans to

       HUD,AFN did not report a single underwriting deficiency to the agency during
 s
       the Lending Time Period, even though materially defective loans were identified
 a
       by AFN employees, including Mr. Isaacson. Indeed, during the Lending Time
io
ii     Period, AFN opted to hide its underwriting problems from HUD rather than

12     disclose them.
13
             44.    AFN's knowledge of its poor underwriting practices derived not just
14
       from its internal audits and deficient quality control processes. AFN regularly
15

16     received reports from institutional investors identifying the poor quality of its

17
       loans, including FHA loans. The findings in these reports often resulted in
18
       investors requesting AFN to re-purchase loans it had sold due to underwriting
19

       issues, including failures to meet FHA's mandatory requirements. Despite
Zo
21     learning of these issues, AFN did not engage in any systematic effort to improve i
22
       underwriting, allowing its poor underwriting and its specific FHA violations to
23
      fester.
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 21
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 22 of 99 Page ID #:22




             45.    AFN further unlawfully executed residential home loan documents
 i
 2     using Adobe Acrobat Software to fraudulently re-create customer signatures that
 3
       were inserted on said documents without customer approval or knowledge. In this
 4
       regard, AFN knowingly misled its institutional investors(PennyMac Corporation,
 5

 6
       Wells Fargo, N.A., Flagstar Bank, Plaza Home Mortgage, Inc., The Money Source,

       CMG Financial, Impac, Citibank, N.A., Ditch, Newrez, Inc., Calber Home Loans,
 8
      Inc., JP Morgan Chase, Freedom Mortgage, Home Pointe Financial, Mr. Cooper,
 9
      First Guaranty Mortgage Corporation, AmeriHome Mortgage Company, LLC,
to
li     Texas Capital Bank, PHHMortgage Corporation, BB&T Bank, Northpointe Bank,

12    Fannie Mae(FNMA)and Ginnie Mae(GNMA))by knowingly certifying loan
13
      characteristics and manipulated its origination software program with HUD to
14
       illegally profit. It also falsified its internal computer system to prevent disclosing
15

16     material information to its customers.

17
             46.    As detailed below, AFN misrepresented its loan origination services
is
      to United States veterans by knowingly promoting loan characteristics that could
19

       not be satisfied.
20
21           47.    As further detailed below, AFN failed to report a large data theft to its
22
      customers and/or the United States Government and in the alternative, unlawfully
23
      shared confidential consumer data information with its illegal branch offices for
24

25
       profit in violation of state and federal laws.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 22
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 23 of 99 Page ID #:23




             48.    Lastly, AFN defrauded the Department of Homeland Security by

 L     knowingly submitting fraudulent employment documents related to the

 3
       procurement of an H 1 B Visa for Ikakyi Gonzalez.
 4
              DEFENDANTS RETALIATED AGAINST MR.ISSACSON BY
 5                WRONGFULLY TERMINATED HIM AFTER HE
 6
               REPORTED AFN'S UNLAWFUL BUSINESS PRACTICES

             49.    On or about March 9, 2020, after months of complaining of various

 8     unlawful business activity at AFN,Jonathan Gwin(AFN's Chief Operating
 9
       Officer) called Mr. Isaacson to inform him that he was going to meet him at AFN's
io
ii    Lake Forest Branch Office to discuss the byproducts of AFN's manipulating its

12    Encompass internal system, which resulted in hundreds of thousands of dollars in
13
       lost wages and bonuses to Mr. Isaacson and millions of dollars lost to its other
14
      Regional and Branch Managers. Upon Mr. Gwin's arrival, he was accompanied
15

16     Matt Gruber(AFN's Director of Technology). Instead of meeting Mr. Isaacson to

i~     discuss AFN's unlawful business practices, they instead seized over twenty (20)
is
       personal computers and two(2)large computers servers containing unlawful
19
      documentation, including proof of the various unlawful business activities that Mr.
20
21    Isaacson was complaining about for months. Mr. Gruber personally cut the

22    connections to the branch office's audio and video security systems. Mr. Gwin
23
      then wrongfully terminated Mr. Isaacson after he continued to question him
24
      regarding AFN's intentional manipulation of its Encompass internal system and
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 23
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 24 of 99 Page ID #:24




       other data theft that was never reported to the United States government. Mr.
 i
 2     Isaacson is entitled to monetary damages, restitution and injunctive relief.
 3
        I.   FHA MORTGAGE INSURANCE PROGRAM.
 4
             50.    Due to its size and to further homeownership opportunities for
 5

 6
       taxpayers, the FHA mortgage insurance program necessarily relies on lenders in

       making and insurance FHA loans to act responsibly, exercise due care, comply
 8
       with FHA requirements, and make truthful certifications.
 9
             A.     Overview of the FHA Mortgage Insurance Program, the
io                  DE program, and the LI Program.
ii
             51.    HUD is a cabinet-level agency of the United States. Its mission is to
12

13
       create strong, sustainable, inclusive communities and quality affordable homes for

14     all. HUD works to strengthen the housing market to bolster the economy and
15
       protect consumers nationwide, meet the need for quality affordable rental homes,
16
       utilize housing as a platform for improving quality of life, and business inclusive
i~
is     and sustainable communities free from discrimination.

19           52.   FHA is part of HUD and is one of the largest mortgage insurers in the
20
       world. Pursuant to the National Housing Act of 1934, FHA offers several
21
       mortgage insurance programs that have insured more than 40 million home loans
22

23     since FHA's inception. Through some of these mortgage insurance programs,

24    FHA provides insurance against losses on mortgage loans to single family home
25
       buy~~g~'~1           ~yI~g'~~~~,,tg      o     ~ FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 24
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 25 of 99 Page ID #:25




             53.   If a homeowner defaults on an FHA-insured mortgage, the holder of
 1
 2     the mortgage may submit a claim to HUD. HUD will then pay the mortgage

 3
       holder the outstanding balance on the loan and other costs associated with the
 4
       default. The mortgage holder therefore suffers no loss when a borrower is unable
 5

 6
       to repay an FHA-insured mortgage. This no-loss guarantee encourages lenders to

       make loans to creditworthy applicants who would be otherwise have difficulty
 8
       qualifying for conventionally available financing on favorable terms, including the
 9
       ability to put little money down to make the purchase. FHA mortgage insurance
io
it     programs therefore help many creditworthy moderate-and low-income families as

IZ     well as first-time homebuyers become homeowners. The DE Program is voluntary
13
       and gives lenders access to borrowers and revenue streams lenders would be
19
       unlikely to access without the support ofHUD programming and FHA insurance.
15

             54.   A lender must apply to be a DE Lender and must be approved by

i~     HUD to underwrite FHA-insured mortgage loans on HCJD's behalf. This is an
is
       important responsibility because HUD "does not review applications for mortgage
19

       insurance before the mortgage is executed." 24 C.F.R. §203.5(c). Pursuant to its
Zo
21    statutory authority, HUD has published guidelines for Direct Endorsement
22
       underwriting procedures in the handbook for distribute to DE Lenders. Id.
23
      "Compliance with these guidelines is deemed to be the minimum standard of due
24

25
      diligence in underwriting mortgages." Id. Mortgages must evaluate the
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 25
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 26 of 99 Page ID #:26




       mortgagor's income "in accordance with applicable regulations, policies and
 i
 2     procedures," 24 C.F.R. §203.5(d), and must have the property appraised "in

 3
       accordance with such standards and requirements as the Secretary may prescribe,"
 4
       24 C.F.R. §203.5(e).
 5

 6
             55.   After the DE Lender approves a borrower for an FHA-insured

       mortgage loan, the lender may submit the mortgage loan to HUD to "endorse" the
 s
       mortgage loan for FHA insurance, meaning that the mortgage loan is fully insured
 9
       by the FHA insurance fund in the event that the borrower cannot repay the loan.
io
it     The DE Lender must certify that the loan meets all of HUD's requirements and

12     HUD relies on this certification to endorse the loan for FHA insurance.
13
             56.   Certain DE Lenders apply to, and participate in, the Lender Insurance
14
      ("LI") program (the "LI Program")in which the mortgagees themselves endorse
15

16     mortgage for FHA insurance and retain all documentation supporting the

17
       mortgage. 24 C.F.R. §203.6. These lenders typically have a history with HUD
is
       and are experienced with FHA lending and so are afforded greater responsibility
19

       based on previous representations to HUD. The lender retains the documents
Zo
21     necessary to approve the loan (the FHA "case binder") and remits the documents
22
      to HUD only upon request. See Mortgagee Letter 2005-36.
23
             57.   A DE Lender is expected and obligated to act with the utmost good
29

25
      faith, honesty, and fairness in its dealings with HUD. The mortgagee, knowing
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 26
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 27 of 99 Page ID #:27




       that the federal insurer is relying on its professional judgment in a business
 i

 2     relationship, has an affirmative duty to use due care in providing information and

 3
       advice to the federal mortgage guarantor. As a result, in addition to the regulatory
 4
       duties addressed below, the DE Lender owes both a fiduciary duty and a duty of
 5

 6
       reasonable care to HiJD.

             58.    Put another way, HUD grants DE Lenders responsibility for
 s
       determining which loans qualify for FHA insurance. In granting this control and
 9
       responsibility to the DE Lenders, HUD must rely on and place trust and confidence
io

it     in the lenders' knowledge, good faith, integrity, and candor. HUD therefore enters

12     into a fiduciary relationship with the DE Lenders.
13
             59.    As a result of this fiduciary relationship, the DE Lenders owe HUD a
14
       duty to act with good faith, candor, honesty, integrity, fairness and fidelity in their
15

16     dealings with HUD. These duties require, among other things, that the lenders

17
       exercise integrity, prudence, candor, and due diligence on behalf of HUD when
18
       endorsing loans for FHA insurance, reviewing the loans for quality control
19

       purposes, reporting defective loans, and submitting claims.
Zo

21           B.     Lenders Must Submit Truthful Certifications.

22
             60.    The success of the DE program depends upon proper underwriting of
23
       loan tiles. Participating lenders determine the eligibility of borrowers and loans fi
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 27
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 28 of 99 Page ID #:28




       FHA insurance, and ensure the integrity ofthe data relied upon to make such
 i
 2     determinations.
 3
             61.    Under the DE Program, HUD relies on the expertise and knowledge
 4 i
       of the lenders.
 5

 r           62.    Indeed, as noted below, HUD requires DE and LI Lenders to certify

       nn an annul basis that they are fully aware of HUD requirements and will fully
 8
       comply with them.
 9
             63.    HUD also relies on the truthfulness of the certification the lender
io
ii     completes on each loan certifying that the loan is eligible for FHA insurance. AS

12     HUD has explained, these "certifications are important as HUD will rely upon
13
       them for purposes of endorsing the mortgage loan, thereby eliminating the
19
       necessity for a detailed HUD review of the loan prior to endorsement." Final Rule,
15

16     Mutual Insurance Programs Under the National Housing Act; Direct Endorsement

17
       Processing, 48 Fed. Reg. 11932(March 22, 1983).
is
             C.     Lenders Must Use Qualified Underwriters.
19

             64.    To obtain and maintain its status as a DE Lender, a lender must have
Zo
21     qualified underwriters on staff.
22
             65.    To qualify as a Direct Endorsement underwriter or "DE underwriter,"
23
       an underwriter must satisfy several requirements. The DE underwriter "must have
24

25
       a minimum of three years full-time recent experience (or equivalent experience)
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 28
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 29 of 99 Page ID #:29




       reviewing both credit applications and property appraisals." HLJD Handbook
 i
 2     4000.4, REV-1, CHG-2, ch. 2-4.A.3; see also HUD Handbook 4155.2 ch. 2.A.4a.

 3
       The underwriter must also be a "reliable and responsible professional skilled in
 4
       mortgage evaluation" and "must be able to demonstrate his or her knowledge and
 5

       experience regarding the principles of mortgage underwriting." HUD Handbook

       4000.4, REV-1, CHG-2, ch. 2-4.A.1; see also HUD Handbook 4155.2 ch.2.A.4.a.
 s
             66.   Lenders cannot offer underwriters improper incentives to approve
 9
       loans. Specifically,"[e]mployees who perform underwriting and loan servicing
io
li     activities may not receive commissions." HUD Handbook 4060.1, REV-2, ch. 2-

12    9.A. Lenders are not allowed to provide bonuses based on loans an underwriter
13
       approves.
14
             67.   These requirements are intended to ensure that FHA-insured loans are
15

16     underwritten only by qualified individuals who are knowledgeable and experi

17
       regarding FHA requirements, and that the decision to endorse the loan is based on
18
      the eligibility of the mortgage rather than the financial interest of the underwriter.
19

             D.    Lenders Must Perform Proper Due Diligence and Ensure
Zo
                   Accuracy.
2~
             68.   A DE Lender is responsible for all aspects of the i-nortgage
22

23    application, the property analysis, and the underwriting of the mortgage. That

29    responsibility includes performing due diligence and ensuring accuracy of
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 29
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 30 of 99 Page ID #:30




       underlying documentation, as it would for the underwriting of any loan.
 i
 a           69.   Proper due diligence is a critical component of the DE Program and
 3
       any mortgage lending program. It is required by federal regulation and HUD
 4
       Handbooks. It is also required by the fiduciary duty and duty of reasonable care
 5

 6
       that the DE Lenders owed to HUD. See 48 Fed. Reg. at 11932("The duty of due

       diligence owed [HUD] by approved mortgagees is based not only on these
 s
       regulatory requirements, but also a civil case law."). The entire scheme ofFHA
 9
       mortgage guaranties presupposes an honest mortgagee performing the initial credit
to
ii     investigation with due diligence and making the initial judgment to lend in good

12    faith after due consideration of the facts found.
13
             70.   In all cases, a DE Lender owes HLTD the duty, as prescribed by
14
      federal regulation, to "exercise the same level of care which it would exercise in
15

16    obtaining and verifying information for a loan in which the mortgagee would be

17
       entirely dependent on the property as security to protect its investments." 24
is
      C.F.R. §203.5(c).
19

             71.   HUD has established specific rules for due diligence predicated on
Zo
21    sound underwriting principles. In particular, HUD requires DE Lenders to be
22
      familiar and to fully comply with governing HUD Handbooks and Mortgagee
23
       Letters, which provide detailed instructions and requirements for DE Lenders.
29

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 30
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 31 of 99 Page ID #:31




       These requirements set forth the minimum standard of due diligence in
 i
 2     underwriting mortgages with which DE Lenders must comply.

 3
             72.   HUD considers the DE underwriter to be "the focal point of the
 4
       Direct Endorsement program." HUD Handbook 4000.4, REV-1, CHG-2,ch. 2-
 5

 6
       4.C. The DE underwriting must assume the following responsibilities:

                   -compliant with HUD instructions, the coordination
 8
                   of all phases of underwriting, and the quality of
 9
                   decisions made under the program;
io
ii                 -the review of appraisal reports, compliance

12                 inspections and credit analyses performed by fee and
13
                   staff personnel to ensure reasonable conclusions,
14
                   sound reports and compliance with HUD
15

16                 requirements;

17
                   -the decisions relating to the acceptability of
is
                   appraisal, the inspections, the buyer's capacity to
19

                   repay the mortgage and the overall acceptability of
Zo
21                 the mortgage loan for HUD insurance;
22
                   -the monitoring and evaluation of the performance
23
                   of fee and staff personnel used for the Direct
24

25
                   Endorsement program; and
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 31
        Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 32 of 99 Page ID #:32




                       -awareness of the warning signs that may indicate
    1

    2                  irregularities, and an ability to detect fraud, as well

    3
                       as the responsibility that underwriting decisions are
    4
                       performed with due diligence in a prudence manner.
    5

    6
                       ra.
                73.    When ensuring that a borrower is creditworthy, a DE Lender must
    s
          comply with governing HUD requirements, such as those set forth in HUD
    9
          Handbook 4155.1 (Mortgage Credit Analysis for Mortgage Insurance on One- to
io
ii        Four-Unit Mortgage Loans). The rules set forth in HUD Handbook 4155.1 exist

12        to ensure that a DE Lender sufficiently evaluates whether a borrower has the
13
          ability and willingness to repay the mortgage debt. HUD has informed DE
14
          Lender that past credit performance serves as an essential guide in determining a
15

16        borrower's attitude toward credit obligations and in predicting a borrower's

17
          future actions.
18
                74.    DE Lenders can underwrite an FHA-insured loan in one or two
i
          ways. First, a DE underwriting can "manually underwrite" the loan, by making
Zo

21        the credit decision whether to approve the borrower, in accordance with HLTD
22
          underwriting rules. Second, the DE Lender can use aHUD-approved Automated
23
         ; Underwriting System ("AUS"), a software system that indicates the
24

25
          determination of a loan's eligibility for FHA insurance.
              COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
             INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 32
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 33 of 99 Page ID #:33




            56.   To "manually underwrite" an FHA-insured loan, there are numerous
 i
 2     steps the DE underwriter must take. At a minimum,the underwriter must:
 3
            -     obtain and review the borrower's credit history,
 4                including the borrower's payment history of housing
                  obligations;
 5

 6
            -     obtain adequate explanations for major derogatory
                  credit, including collections,judgments, and other
                  recent credit problems;

            -     analyze the borrower's debt obligations;
 9
            -     reject documentation transmitted by unknown or
io                interested parties;
~~          -     inspect documents for proof of authenticity;

12                verify the borrower's employment history;
13
                  establish the borrower's income stability and make
14                income projections;
15
                  ensure that the borrower has invested a minimum
16                required amount of his or her own funds in the
                  transaction;
i~
18          -     document the source of funds invested in the
                  transaction, including any gift funds;
19

            -     calculate debt and income ratios and compare those
Zo
                  ratios to fixed ratios set by HUD rules; and
;,
            -     consider and document any compensating factors
22
                  permitting deviations from those fixed ratios.
23
            See HUD Handbook 4155.1.

15
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 33
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 34 of 99 Page ID #:34




             57.     Beginning in July 2008, HUD required DE Lenders to electronically
 i
 2     process eligible loan requests through an AUS. An AUS is a software system that

 3
       connects to a proprietary HUD algorithm known as Technology Open to Approved
 4
       Lenders, or "TOTAL." Using the data the lender inputs, HUD's"TOTAL"
 5

 6
       algorithm makes a credit determination and either:(i) provides an

      "Accept/Approve" decision, approving the loan subject to certain conditions; or (ii;
 s
       provides a "Refer" decision, referring to loan back to the lender for manual
 9
       underwriting. When TOTAL approves the loan, the approval is conditioned on the
io
ii     lender completing certain additional underwriting steps. Many of these conditions

12     relate to ensuring the data the lender entered is true, complete and accurate.
13
             58.     Numerous requirements promulgated by HUD explain how lenders
14
       must calculate each data point and what documentation they need to support each
15

16     data point.

17
             59.     For any loan approved through the use of an AUS,HUD requires the
18
       lender to certify to the integrity of the data it entered, which HUD defines as data
19

       that is true, complete and accurate. FHA TOTAL Mortgage Scorecard User Guide
Zo
21    (December, 2003 Edition), ch. 2. If the lender later receives or learns of
22
       information that materially differs from the information previously entered by the
23
       lender, the lender must re-summit a proposed loan to TOTAL through an AUS.
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 34
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 35 of 99 Page ID #:35




             60.    The data entered into TOTAL is material to the endorsement of the
 i
 2     loan because TOTAL is an algorithm that evaluates the overall creditworthiness of ~

 3
       mortgage applicant based on the data supplied by the lender. Therefore, a loan
 4
       receiving a TOTAL "Accept/Approve" decision is only eligible for FHA's
 5

 6
       insurance endorsement if"the data entered into the AUS [is] true, correct, properly

       documented, and accurate." See Mortgagee Letter 2004-1.
 a
             61.    Because TOTAL cannot analyze data that is not available to it, certain
 9
       l oans are not eligible for an AUS approval and must be manually underwritten. "A
io
       ►iianual downgrade becomes necessary if additional information, not considered in

12     the AUS decision, affects the overall insurability or eligibility of a mortgage
13
       otherwise rated as an accept or approve." FHA TOTAL Mortgage Scorecard User
14
       Guide (December, 2004 Edition), ch. 2. While lender is not required to have a DE
15

16    underwriter review the credit portion of an AUS approved loan, a lender must have

17
       qualified staff review AUS approvals to ensure a loan that receives an
is
      "Accept/Approve" decision is in fact eligible for an AUS approval. See id.
19

             62.    To ensure the integrity of TOTAL's decision, as well as the integrity
20

21     of the data TOTAL relies upon, lenders are prohibited from "manipulating ...
22
       application variable [in] TOTAL mortgage scorecard to obtain an accept/approve
23
      risk classification." See Mortgagee Letter 2005-15.
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM, RECOVERY AND ENFORCEMENT ACT OF 1989 - 35
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 36 of 99 Page ID #:36




              63.    If TOTAL does not approve a loan with an "Accept/Approve"
 i
 2      decision, it returns a "Refer" decision, meaning the loan is referred back to the

 3
        lender for manual underwriting. Lenders must then have a DE underwriter
 4
        perform a manual underwrite and determine if the loan is approvable under FHA's
 5

 6
        manual underwriting requirements. See 24 C.F.R § 203.255(b)(5)(i)(B).

 ~ ~,         E.    FHA Requires Lenders to Certify Their Compliance with
                     Their Programmatic Responsibilities.
 a
 9            64.   HUD requires DE Lenders to certify their compliance with the

10
        foregoing due diligence, quality control, and reporting requirements.
ii
              65.   First, when a lender applies to participate in the DE Program and to
12

13
        endorse loans for FHA insurance on HUD's behalf, the lender must certify that it

14      will full comply with all HUD guidelines, regulations and requirements:
15
                    "I certify that, upon the submission of this
16
                    application, and with its submission of each loan for
i~
is                  insurance or request for insurance benefits, the

19                  applicant has and will comply with the requirements
20
                    ofthe Secretary of Housing and Urban
21
                    Development, which include, but are not limited to,
22

23                  the National Housing Act(12 U.S.C. § 1702 et seq.)

29
                    and HUD's regulations, FHA handbooks, mortgagee
25
            COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
           INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 36
         Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 37 of 99 Page ID #:37




                       letters, and Title I letters and policies with regard to
     1
    2                  using and maintaining its FHA lender approval."
    3
                 This certification is submitted to HUD headquarters in the District of
    4
           Columbia.
    5

    6
                 66.   If the lender is approved, the lender must re-certify, every year, that it

           is complying with the program's qualification requirements, including due
    ~ I
    8
           diligence in underwriting and the implementation of a mandatory quality control
    9
           plan. From 2007 to 2009, the lender was required to certify:
io
ii                     "I know or am in the position to know, whether the

12                     operations of the above-named mortgagee conform to
13
                       HUD-FHA regulations, handbooks, and policies. I
14
                       certify that to the best of my knowledge, the above
15

15                     named mortgagee conforms to all HUD-FHA

                       regulations necessary to maintain its HLJD-FHA
1
                       approval, and that the above-named mortgagee is
    ;,
                       fully responsible for all actions of its employees
~o

:~                     including those of its HUD-FHA approved branch
~.
                       offices."

                 This language was altered in 2010, requiring the lender to certify:

25
               COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
              INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 37
        Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 38 of 99 Page ID #:38




                     "I certify that I know, or am in the position to know,
    i
    2                whether the operations of above-named lender conform to
    3
                     HUD-FHA regulations, handbooks, Mortgagee Letters, Title
    4
                     I Letters, and policies; and that I am authorized to execute
    s
    6
                     this report on behalf of the lender. I certify that the lender

                     complied with and agrees to continue to comply with HUD-
    s
                     FHA regulations, handbooks, Mortgagee Letters, Title I
    9
                     Letters, policies, and terms of any agreements entered into
io
ii                   with [HCJD]. I certify that to the best of my knowledge, the

12                   above-named lender conforms to all HUD-FHA regulations
13
                     necessary to maintain its HUD-FHA approval, and that the
14
                     above-named lender is fully responsible for all actions of its
15

                     principles, owners, officers, directors, managers,

1
                     supervisors, loan processors, loan underwriters, loan
18
                     originators, and all other employees conducting FHA
19

20
                     business for the above-named lender...Each of my

2i                   certifications is true and accurate to the best of my
22
                     knowledge and belief. I understand that if I knowingly have
23
                     made any false, fictitious, or fraudulent statement(s),
24

25
                     representation, or certification on this forth, I may be subject
              COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
             INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 38
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 39 of 99 Page ID #:39




                    to administrative, civil and/or criminal penalties; including
 1
 2                  debarment, fines, and imprisonment under applicable federal

                    law."

             These certifications are then submitted to HUD headquarters in the

       District of Columbia.

             67.    Unless the lender submits a truthful initial certification and annual
 s
       certifications, the lender is not entitled to obtain or maintain its status as a DE
 9
       Lender or to endorse loans for FHA insurance.
io
ii           68.    In addition, for each individual mortgage loan approved for FHA

12     insurance, the lender must make a "loan-level" certification — i.e., a certification
13
       specific to an individual loan —that the individual mortgage complies with HUD
14
       rules and its "eligible for HUD mortgage insurance under the Direct Endorsement
15

16     program." Form HUD-92900-A.

17
             69.    The "loan-level" certification differs depending on whether the
18
       lender used an AUS or manual underwriting. For each loan that was underwritten
19

       with an AUS,the lender must certify to "the integrity of the data supplied by the
Zo
21     lender used to determine the quality of the loan [and] that a Direct Endorsement
22
       Underwriter reviewed the appraisal (if applicable)." Id. For each loan that
23
       required manual underwriting, the lender must certify that the DE underwriter
24

25
      "personally reviewed the appraised report(if applicable), credit application, and
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 39
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 40 of 99 Page ID #:40




          all associated documents that ha[s] used due diligence in underwriting th[e]
 i
 2        mortgage." Id.

 3
                70.    For all loans, the mortgagee's representative must certify: "I, the
 4
          undersigned, as authorized representative of mortgagee at this time of closing of
 5

 6
          this mortgage loan, certify that I have personally reviewed the mortgage loan

          documents, closing statements, application for insurance endorsement, and all
 s
          accompanying documents. I hereby make all certifications required for this
 9
          mortgage as set forth in HUD Handbook 4000.4." If the loan does not meet
io
ii        applicable HUD requirements, it is not eligible for FHA insurance and cannot be

12        certified for endorsement. As of May 9, 2009, HUD Handbook 4000.4 was
13
          superseded by HUD Handbooks 4155.1 and 4155.2.
14
                71.    Absent the applicable certifications for an individual loan as
15

16        described in hereinabove, the DE Lender cannot endorse that loan for FHA

17
          insurance.
is
                72.    Each ofthe foregoing certifications is material to HUD's payment of
19

          any claim submitted under the DE Program. Generally, for DE and LI Lenders,
Zo
21        HUD does not review FHA loans for approval prior to the loan being endorsed for
22
          insurance or paying claims in the event of a default. Instead, HLTD relies on its
23
          lenders to comply with its requirements and to ensure that every loan is in fact
24

25
          eligible for FHA insurance. The certifications (i) are critical to HUD's ability to
      ~       COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
             INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 40
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 41 of 99 Page ID #:41




       ensure that only qualified and eligible loans are endorsed for HUD insurance;(ii)
 i
 2     are essential for a claim on a loan to be eligible for FHA insurance; and (iii) are
 3
       needed to protect HUD and the FHA insurance fund from undue risk and loss.
 9
             F.     HUD regulations prohibit the unlawful "net branching" and
 5                  require HUD-approved lenders to pay all operating expenses
 6
                    for its branches and forbade lenders from shifting liability of
                    those expenses to the branch or its employers.

             73.    HUD through the FHA issues a handbook that regulates lenders for
 s
 9     FHA-backed loans. The HUD regulations prohibit the unlawful "net branching."

10
      See FHA Single Family Housing Policy Handbook 4000.1, Section I.A.4.d (Net
ii
      Branching Prohibition) and I.A.6.G (Payment of Operating Expenses. The FHA
is
13
       Updated Handbook expressly required HUD-approved lenders to pay all operating

19    expenses for its branches and forbade lenders from shifting liability ofthose
15
      expenses to the branch or its employees. More specifically, Section I.A.6.g.ii
16
      required that "The mortgagee must pay all of its own operating expenses,
i~
is     including the expenses of its corporate office and any branch offices where it

19    conducts FHA business." Another section of that handbook, Section I.A.6.g.i,
20
      expressly defined "operating expenses" as "the costs associated with equipment,
21
      furniture, office rent, overhead, and employee compensation." These provisions
22

23     merely echoed and continued the "net branching" which had been set forth in

29     HUD regulations for a decade.
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 41
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 42 of 99 Page ID #:42




             74.   The previous iteration of the FHA handbook was in effect from
 i
 2     August 2006 to September 2015. See FHA Title II Mortgagee Approval
 3
       Handbook 4060.1, Rev-2(Aug 14, 2006)("FHA Handbook"). Pursuant to that
 4
       FHA Handbook, for each branch office, the mortgagee must submit a form (Form
 5

 6
      92001-B) to HUD containing basis information about the branch, general

       certification that the branch "meets all HUD/FHA requirements," and a specific
 s
      certification that the lender "will pay all operating costs of the branch office."
 9
      FHA Handbook ¶ 5-7 at 5-11. The FHA Handbook expressly provides that:
io
ii                 a.    "2-8 Operating Expenses. A mortgagee must pay all its own

12    operating expenses. This includes expenses of its main and branch offices
13
       involved in originating or servicing any FHA insured mortgages. Operating
14
      expenses include, but are not limited to, equipment, furniture, office rent,
15

16    overhead, employee compensation, and similar expenses."

17
                   b.    "2.14 Prohibited Branch Arrangement. An approved
is
       mortgagee may not originate, or service FHA insured mortgages from branches
19

Zo    that do not meet FHA requirements..."

zi                 c.    "B. Certain Employment Agreements. An FHA approved
22
       mortgagee must pay all of its operating expenses including the compensation of
23
      ~ all employees of its main and branch office. Other operating expenses that must
29

25
       be paid by the FHA approved mortgagee include, but are not limited to,
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 42
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 43 of 99 Page ID #:43



       equipment, furniture, office rent, utilities and other similar expenses incurred in
 i
 2     operating a mortgage lending business. A branch compensation plan that
 3
       includes the payment ofoperating expenses by the hranch manager, any other
 4
       employee or by a third party is prohibited arrangement."(emphasis added).
 5

 6
             75.    HUD has clarified that the FHA Updated Handbook did not change

       these important regulations prohibiting net branching. For example, in a public
 8
       presentation dated June 23, 2015, regarding the then upcoming FHA Updated
 9
       i landbook, IUD's FHA Office of Single Family Housing reported under the
io
ii     Leading "Doing Business: Key Policy Revisions" that the new handbook

12    "Continues to prohibit Net Branching arrangements."
13
             76.    The purpose of requiring the lender to pay operating costs of its
14
       branch office is to prevent the lender from operating "net branch" or "franchise"
15

16     offices that provide a potential revenue stream at little cost to the lender. It is

17
       critically important that although lenders are permitted to pay branch managers
18
       the commission resulting from branch revenue minus branch expenses, they must
19

       remain the financially responsible party and be the ultimate guarantor on branch
Zo
21     contractual obligations. If a Lender is permitted to operate "no cost" or "partial
22
       cost" branches, it will have an incentive to add far more branches than it can
23
       effectively supervise and control.
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 43
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 44 of 99 Page ID #:44




             77.    After submitting the certification, the loan correspondence receives a
 i
 2     HUD ID that permits the branch to originate FHA loans. To monitor lender
 3
       default rates on abranch-by-branch basis, HUD requires lenders to enter the
 4
       specific HUD ID for the originating branch in every loan file submitted to HUD
 5

 6
       and to certify that each loan has satisfied HUD's regulations.

             78.    To maintain HUD-approved status, loan correspondents and direct
 8
       endorsement lenders must also submit annual certifications to HLJD. The annual
 9
       certifications contain four distinct representations:
io
ii                  a.    "I certify that none of the principals, owners, officers,

12           directors, and/or employees of the above-named lender is currently
13
             involved in a proceeding and/or investigation that could result, or
i4
             has resulted in a criminal conviction, debarment, limited denial of
15

16           participation, suspension, or civil money penalty by a federal, state

17
             or local government."
18
                    b.    "I certify that the above named lender has not been
19

             refused a license and has not been sanctioned by any states) in
ao
21           which it originates and/or services HUD-FHA insured loans."
22
                    c.    "I know, or am in the position to know, whether the
23
             operations of the above named lender conform to HUD-FHA
24

25
             regulations, handbooks, and policies."
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 44
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 45 of 99 Page ID #:45




                    d.    "I certify that to the best of my knowledge, the above

 2           named lender conformed to all HUD-FHA regulations necessary to
 3
             maintain its HLJD-FHA approval, and that the above named lender
 4
             is fully responsible for all actions of its employees including those
 5

 6
             of its HLJD-FHA approved branch offices."

             79.    The requirements for both loan correspondents and direct
 a
       endorsement lenders to maintain HUD-FHA approval is that they implement a
 9
       quality control program, which, among other things, ensures compliance with
to
it     certain key HUD requirements.

12           80.    As part of its quality control program, a mortgagee must(a)conduct
13
       an on-site audit of all branch offices within 90-days of opening and annually
14
       thereafter;(b)review 10% of all closed loan files to ensure they were underwritten
15

16     in accordance with HUD guidelines; and (c) review all early payment defaults

17
      (i.e., those that default within the first six months.). Review of early payment
18
       defaults are particularly important because such defaults are indicative of
19

       mortgage fraud.
20

21           80.    For years, AFN has falsely certified its HUD requirements, in
22
       addition to a regular practice requiring its Branch Manager to pay for AFN
23
       customer's mortgage payments that were delinquent. In fact, as is discussed
24

25
       below, AFN's written policy that is incorporated in its Branch Manager
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 45
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 46 of 99 Page ID #:46




       employment agreements unlawfully state that AFN Branch Manager pay [sic]
 i
 2    "Actual corporate costs for any early payoffs(EPO), early payment defaults

 3
      (EPD), buybacks, or any other expenses incurred on loans closed by the Branch."
 4
             80.    AFN also illegally charged its Branch Managers, including Mr.
 5

 6
       Isaacson, for AFN's Early Payoffs and AFN's Early Payment Default that came

       as a byproduct of AFN's underling illegal business activities.
 s
             80.    Although AFN claims to have a written policy of reviewing 10% of
 9
       all closed loans and completing an annual audit of its Net Branches, this never
to
ii     occurred. In fact, AFN unlawfully automatically charged its Branch Managers,

12     including Mr. Isaacson, an Audit Fee per month, which was calculated at $12.50
13
       per funded residential home loan, when in fact AFN never conducted the required
14
      audit. AFN has illegally enriched itself with these unlawful business practices,
15

16     all of which are in direct violation of HUD guidelines.

17
             81.    Each loan filed and submitted for FHA insurance contain a loan-
ie
       specific certification (Form 92900-A), in which a lender certifies that the
19
       i~iformation contained in the application is "true and to the best of the lender's

21    knowledge and belief." If, when the loan "is submitted [to HUD]for
22
      endorsement, HUD has evidence that there is fraud or misrepresentation on the
23
      i part of the origination mortgagee, HUD will consider the certifications as
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 46
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 47 of 99 Page ID #:47




       fraudulent and will not endorse the mortgage for insurance." See FHA Handbook
 i
 2    I 1I 1-3.
 3
                  82.   In the event that a borrower defaults on an FHA-insured mortgage,
 4
       the holder of the loan submits a claim to HLJD for the costs associated with the
 5

 6
       defaulted mortgage and the sale of the property. HUD then pays off the balance

       of the mortgage and other related costs, and may assume ownership of the
 s
       property. In the mortgage industry, FHA-insured loans are highly marketable for
 9
       resale to investors both because such loans are expected to have met HUD
io
ii     requirements and because they are backed by the full faith and credit of the United

iz     States.
13
                        G.    HUD regulations prohibit the unlawful "virtual
14                            br~~nchin~."
15
                  83.   AFN violates state and federal law, including HUD regulations
16
       prohibiting virtual branching, and the proper disclosure and requirements for
i~
is     proper AFN Branch licenses. In this regard, AFN purposely allows certain new

19    Branches to illegally operate in such a fashion pending the legitimate Branch
20
       license to be procured from respective state regulators.
z~
                  II.   AFN'S PARTICPATION IN THE FHA PROGRAM
22

~3                84.   AFN began participating in the DE Program and in the Lender

24    Insurance Program in well beyond the Lending Time Period. During the Lending
25

           INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 47
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 48 of 99 Page ID #:48




       in Brea, although underwriting also occurred at certain branch offices, including
 i
 2     the branch office that Mr. Isaacson acted as Branch Manager for AFN.
 3
                    A.    AFN Directly Endorsed FHA Loans, Many of Which
 4                        Have Defaulted, Requiring FHA to Pay Substantial
                          inenranra (''laime
 5

 6
             85.   After endorsing a loan for FHA insurance or causing it to be

       endorsed, AFN often sold the loan to large institutional investors located
 8
       throughout the United States.

             86.   AFN profited both by charging loan fees and by selling the FHA-
10

li     insured loans.

12                  B.    AFN Certified That it Complied With HUD
13
                          Requirements to Gain and Maintain Eligibility in
                          the DE Program.
14
             87.    To become and remain aHUD-approved DE Lender, and to receive
15

16     payment on claims for defaulted FHA-insured loans that are held, AFN was

17
      required to annually certify its compliance with HUD's requirements.
is
             88.   For example, AFN certified to HUD for fiscal year("FY")2017 that:
19

                   "I know, or am in the position to know, whether the operations of
Zo
21                 [AFN]conform to HUD-FHA regulations, handbooks, Mortgagee
22
                   Letters, Title I Letters, and policies [.]..."
23
                   "I certify that to the best of my knowledge,[AFN] conforms to all
24

25
                   HUD-FHA regulations necessary to maintain its HUD-FHA
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 48
        Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 49 of 99 Page ID #:49




                        approval, and that[AFN] is fully responsible for all actions of is

   2                    principals, owners, officers, directors, and all other employees
   3
                        conducting FHA business for[AFN] in all of its offices where it
   4
                        performs any functions of an FHA-approved lender."
   5

   6
                  89.     AFN made similar certifications for FY 2017, FY 2018, FY 2019

          and ~~2~.
   a
                  90.      The foregoing certifications were knowingly false because, as
   9
          discussed below, AFN knew, deliberately ignored, or recklessly disregarded that it
 io
 ii       originated and underwrote loans that were not in compliance with HUD

 12       requirements.
 13
          ~~~
 iq

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 18
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,_ ~
                 COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
                INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 49
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 50 of 99 Page ID #:50




         EXAMPLES OF DEFENDANTS UNLAWFUL BUSINESS PRACTICES
 i
 2            III.   AFN    UNLAWFUL    BUSINESS   PRACTICES
                     INTENTIONALLY   DEFRAUTED    HUD,   FHA
 3
                     INSURANCE, INSTITUTIONAL INVESTORS AND
 4                   CUSTOMERS

 5           92.     AFN has, for years, intentionally defrauded HUD, FHA Insurance,
 6
       institutional investors and customers with a variety of unlawful practices, all for

       its ill-gotten gain.
 8

 9            A.     AFN's Intentional Unlawful Conduct Violated HUD
                     Rules and Requirements Governing the Origination and
io
                     Underwriting of FHA Insured Mort~a~es by Falsifying
11                   Documents and Providing False Annual Certifications
                     to HUD.
12

13
             93.     AFN knowingly falsified consumer loan documents by transposing

14     customer signatures from a Borrowers Authorization Form to a Closing
15
       Disclosure statement to reduce operational costs and illegally increase profit. In
16
       or- about November 2017, Mr. Isaacson discovered that AFN regularly disregarded
i~
18     state and federal laws by fraudulently changing consumer signatures using Adobe

19     Acrobat Pro to facilitate this unlawful activity and prevent detection from any
20
       state, federal, including HUD,as well as, from institutional investor audits from
21
      PennyMac Corporation, Wells Fargo, N.A., Flagstar Bank,Plaza Home Mortgage,
22

23     Inc., The Money Source, CMG Financial, Impac, Citibank, N.A., Ditech

24
       Financial, LLC Financial, LLC, Newrez, Inc., Calber Home Loans, Inc., JP
25
       Morgan Chase, Freedom Mortgage, Home Pointe Financial, Mr. Cooper, First,
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 50
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 51 of 99 Page ID #:51



       Guaranty Mortgage Corporation, AmeriHome Mortgage Company,LLC,Texas
 i
 2     Capital Bank,PHH Mortgage Corporation, BB&T Bank, Northpointe Bank,
 3
       Fannie Mae(FNMA)and Ginnie Mae(GNMA).
 4
             94.     Raul Esperaza(AFN's Branch Relations Manager)informed Mr.
 s
 6
       Isaacson of the detailed process of how AFN fraudulently deceives federal and

       state laws by manipulating prior customer signatures from other loan related
 s
       documents that AFN procure to the Closing Disclosure statement. Mr. Esperaza
 9
       stated to Mr. Isaacson that Jonathan Gwin(AFN's Chief Operating Officer) knew
io
ii     of this unlawful behavior and endorsed it. He instructed Mr. Isaacson to never

12     discuss this subject matter or any other AFN unlawful activity via email, and to
13
       use text, cell phone or informal meetings at AFN's corporate headquarters in Brea,
14
       California.
15

16           95.     Immediately thereafter, Mr. Isaacson called Mr. Gwin to question

17
       about this AFN's business of changing the closing disclosure dates and changing
is
      the date tracking (the compliance screen-"Date Tracking") and most important his
19

      concern about getting in trouble with the law, in particular, TRID, which Mr.
Zo
21    Isaacson knew. In response, Mr. Gwin stated "Do you want to pay the extra
22
      $2,000.00 dollars to fund the loan" [referring to the fraudulent loan documents
23
      and the branch relations department altering documents using Adobe Acrobat Pro.
24

25
             96.     On this unlawful activity alone, AFN generated millions of dollars
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 51
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 52 of 99 Page ID #:52




       unlawfully funding loans and thereafter selling these same defective loans to
 i
 2     institutional investors, Ginnie Mae and Fannie Mae. This unlawful activity
 3
       resulted in false claims to HUD.
 4
               97.   Mr. Isaacson is in possession offour thousandfive hundred sixty-
 5

 6
       nine (4,569)scans andfacsimilesfrom AFN's Brea headquarter (specifically,

              the Branch Relations Department, which is situated next to Jonathan Gwin
 s
      ~ (AFN's ChiefOperating Officer) office). This includes numerous PDF's ofAFN's
 9
            udulently created, manipulated and/or altered consumer Closing Disclosures
io
li ~ on certain AFNfunded loans that were insured by the FHA and/or were
12     unknowingly purchased by institutional investors PennyMac Corporation, Wells
13
      ~ Fargo, N.A., Flagstar Bank, Plaza Home Mortgage, Inc., The Money Source,
14
      ~ CMG Financial, Impac, Citibank, N.A., Ditech Financial, LLC, Newrez, Inc.,
15

16    ~ Calber Home Loans, Inc., JP Morgan Chase, Freedom Mortgage, Home Pointe

17
      Financial, Mr. Cooper, First Guaranty Mortgage Corporation, Ame~iHome
18
      ~ Mortgage Company, LLC, Texas Capital Bank, PHH Mortgage Corporation,
19

      ~ BB&T Bank, Northpointe Bank, Fannie Mae("FNMA ") and Ginnie Mae
Zo
21   ("GNMA ").
22
      ~~~

23
      ~~~
24

      ~~~
25
             COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 52
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 53 of 99 Page ID #:53




             B.    AFN's Wrongful Conduct Violated Specific HUD Rules
 1
                   and Requirements Governing the Origination and
 2                 Underwriting of FHA Insured Mortgages by altering the
                   Encompass Date Tracking.
 3

 9           98.   From in or about July 2017, and continuing through Mr. Isaacson's

 5     employment at AFN, AFN intentionally deceived HLJD,the FHA,institutional
 6
       investors and customers by fraudulently altering the date tracking in its Ellie Mae

       loan origination software, to wit, Encompass Loan Origination System (i.e., the
 8

 9    "System of Record). This was done to prevent detection of its illegal business

10
       practices by the federal government, institutional investors and its customers
it
       nationwide. The task was performed by Raul Esperaza(AFN's Branch Relations
12

13
       Manager), who admitted conducting this unlawful activity to Mr. Isaacson on

14     many occasions. He also assisted in the manipulation of the compliance and date
15
      tracking system to fund a particular AFN residential home loan. This act was done
16
      by Mr. Esperaza and Brandon Johnson (former AFN Branch Relations employee)
i~

18    at AFN Brea headquarters at the instruction of Jonathan Gwin (AFN's Chief

19    Operating Officer) and Jimmy Voung(AFN's Branch Compliance Supervisor) in
20
      order to reduce lock, hedge and operational costs, and for an ill-gotten gain. It
21
      should be noted the Mr. Esperaza and Mr. Johnson's respective offices were withi
as

23    several feet of Mr. Gwin, making it easy for Mr. Gwin to conspire with these AFN

24
      employees off-the-record.
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 53
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 54 of 99 Page ID #:54




             99.    During at least a one year period, Mr. Isaacson independently brought
 i
 2     this unlawful activity to the attention of Jimmy Voung(AFN's Branch Compliance

 3
       Supervisor), Twyla Hankins(AFN's Executive Vice President of Operations),
 4
       Brandon Johnson(AFN's previous Branch Relations Manager)and various other
 5

 6
       AFN Branch Relations employees all to no avail. In response, he was told that this

       is how AFN conducted business and that he should look the other way since the
 s
       program was approved by AFN upper management because it was so profitable.
 9
       As a result of this unlawful business practice, AFN saved millions of dollars, while
io
it     at the same time unlawfully earned millions of dollars from this activity by selling

12    fraudulent and mispresented residential home loans nationwide.
13
             100. In or about July 2019, AFN was so backed-up in its fraudulent
14
       business practices that Kristin Gibson(AFN's Senior Loan Processor) contacted
15

16    employee at Chou Team Realty, LLC ("Monster Loans") by the name of Cynthia

17
      Sanchez(Monster Loans Senior Loan Processor) to assist in AFN's unlawful
18
      business activity. Ms. Gibson instructed Ms. Sanchez to manipulate andlor alter
19
      AFN's Closing Disclosure documents, which allowed the subject loan to fund with
20

21    less cost to AFN. This alternative fraudulent business activity, however, was
22
      caught by Brad Brigliani (Monster Loan's General Counsel), who brought this
23
      illegal business activity to the attention of Ritesh Singhania(AFN's fraudulently
24

25
      named Chief Operating Officer)(see below section regarding AFN defrauding the
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 54
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 55 of 99 Page ID #:55




       United States Department ofHomeland Security) and Susie Sensenbach(AFN's
 i
 2     Director of Human Resources). The parties agreed to turn a blind eye on the

 3
       illegal business activity that both companies were participating in by agreeing to
 4
       not hire each other's respective employees. Meanwhile, AFN continued
 5

 6
       unlawfully manipulating residential home loan applications and supporting

       documents, thus, illegally profiting millions of dollars per years. AFN executives
 s
       were so brazen in their illegal activity that AFN's internal Branch Relations
 9
      Department (operated by Jimmy Vuong and Raul Esperaza) manipulated
io
ii     documents in AFN's internal Loan Origination System (Encompass Date

12     Tracking) to give the impression that its residential home loans were in compliancf
13
       with Federal and State laws, including lending rules and regulations.
14
             1 O 1. As stated above, 11~r. Isaacson is in possession offour thousandfive
15

16     hundred sixty-nine (4,569)scans andfacsimilesfrom AFN's Brea headquarter

17
     (specifically,from the Branch Relations Department, which is situated next to
18
      Jonathan Gwin (AFN's ChiefOperating Officer) o~ce). This includes numerous
19

      PDF's ofAFN'sfraudulently created, manipulated and/or altered consumer
20

21     Closing Disclosures on certain AFNfunded loans that were insured by the FHA
22
      and/or were unknowingly purchased by institutional investors PennyMac
23
       Corporation, Wells Fargo, N.A., Flagstar Bank, Plaza Home Mortgage, Inc., The
24

25
      Money Source, CMG Financial, Impac, Citibank, N.A., Ditech Financial, LLC,
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 55
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 56 of 99 Page ID #:56




       Newrez, Inc., Calber Home Loans, Inc., JP Morgan Chase, Freedom Mortgage,
 i
 2     Home Pointe Financial, Mr. Cooper, First Guaranty Mortgage Corporation,

 3
       AmeriHome Mortgage Company, LLC, Texas Capital Bank, PHH Mortgage
 4
       Corporation, BB&T Bank, Northpointe Bank, Fannie Mae("FNMA ") and Ginnie
 s
 6
       Mae("GNMA ").

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25
              COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
             INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 56
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 57 of 99 Page ID #:57




             II.    AFN'S   REFERRAL   DESK   PROGRAM
 i
                    INTENTIONALLY   VIOLATED STATE AND
 a                  FEDERAL LAWS BY DEFRAUDING THE
                    FEDERAL GOVERNMENT
 3

 4           102. AFN's Referral Desk Program operated out of AFN's Brea corporate

 5     headquarters, as well as, from AFN's Laguna Hills corporate office. The program
 6
      was created by Jack Sherman(AFN's Founder and Chief Executive Officer), John

      Sherman(AFN's President), Jonathan Gwin(AFN's Chief Operating Officer) and
 8

 9    Michael VaVerka(AFN's Referral Desk President, Referral Desk Loan Officer,

10
      Division President and Division Manager). The Referral Desk Program illegally
ii
      operated in a variety of ways that enabled AFN to unlawfully enrich itself,
12

13
      including specifically to its upper management executives.

i4           A.    AFN Unlawfully Allowed Unlicensed Employees,
                   Including     Full-Time     Direct     Endorsement
15
                   Underwriters, to Originate Residential Home Loans
16                 and Be Directly Compensated.

17
             103. Since at least from December 2015, AFN's Referral Desk Program
is
      unlawfully enriched AFN executives and certain AFN managers, including Mr.
19

      VaVerka and Jonathan Carrico(AFN's Referral Desk Loan Officer/Manager) by
Zo
21    allowing unlicensed AFN employees (i.e. Scott Keller, Dexter Cajigal, Kenneth
22
      Barnes, Kevin Iribarren, John Jackson, Zachary Hamman, Michele Schulman,
23
      Crystal Dunn, Michael Jacobs and the list goes on), including receptionists and
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 57
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 58 of 99 Page ID #:58



       low-level support staff, to originate and fund residential home loans nationwide
 i
 2     without valid credentials and training as required state and federal laws.
 3
             104. More shocking, AFN allowed its very own underwriting
 4
       management team, including full-time Direct Endorsement Underwriters to
 5

 6
       violate state and federal laws by directly negotiating the terms and conditions of

      residential home loans, knowingly illegally acting as a Licensed Mortgage Loan
 s
      Originator(MLO),and directly get paid a commission without any license.
 9
      AFN's underwriting practices and quality controls were affected as a result of
to
li    letting its full-time Direct Endorsement Underwriters to simultaneously illegally

12    operate a salesman.
13
             105. For example, Jack Sherman(AFN's Founder and Chief Executive
19
      Officer) personally approved Rick Asrani(AFN's Director of Underwriting) and
15

16    Marat Turbin (AFN's Underwriter Manager)(bothfull-time AFN corporate

17
      underwriters whose offices were literally severalfeet awayfrom Mr. Sherman
is
      and Mr. Gavin)to illegally operate, negotiate and fund residential home loans
19

      directly with AFN consumers. Mr. Astrani and Mr. Turbin literally operated
Zo
ai    AFN's FHA's underwriting program on a full-time basis and at the same time,
Za    illegally selling residential home loans to AFN customers nationwide. To
23
      achieve this illegality, they enlisted Cheryl Agonowski(AFN's Lead
24

25
      Underwriter) and Paul Tallman (former AFN Underwriter) to privately
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 58
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 59 of 99 Page ID #:59




       underwrite their very own residential home loans deals to avoid having other
 i
 2     AFN underwriters know this illegal activity for profit was occurring. Mr.
 3
       Sherman was fully aware of this criminal activity and personally approved it.
 4
       Acting as an unlicensed Loan Officer and Branch Manager, as well as, a Director
 5

 6
       of AFN's Underwriting Department is a conflict of interest and a clear violation

      of a variety of state and federal laws. This unlawful business activity resulted in
 s
       an additional financial systemic risk to financial systems worldwide because
 9
      these very same loans were sold into the United States marketplace and beyond.
io
ii           106. Moreover, Mr. Sherman personally allowed Mr. Astrani and Mr.

12    Turbin the ability to be privately paid directly on the profit and loss of AFN. He
13
      further allowed these gentlemen to have their own unique profit and loss name, to
14
      wit, "AB P&L" within the AFN internal system. This was done by Mr. Sherman
is
16    and Mr. Gwin so that other AFN employees, including most importantly, State

17
      and/or Federal law enforcement, to conceal AFN's unlawful business activity that
is
      was being conspired by these individuals. From time-to-time during his
19

20
      employment tenure Mr. Isaacson questioned various AFN executives about this

21    unlawful and unethical business activity, however, but nobody was interested in
22
      addressing it.
23
             107. Mr. Isaacson is in possession ofdocuments confirming all ofthe
24

25
      above-referenced alleged unlawful behavior, including text messages and emails
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 59
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 60 of 99 Page ID #:60




      confirming the above. He is also in possession AFN's Referral Desk "How To"
 i
 2     Training Manual that camefrom Jimmy Vuong (AFN's Referral Desk Compliance

 3
      Manager) that has detailed step-by-step instructions ofAFN's unlawful business
 4
      practices in this regard.
 5

 6
                   B. AFN's Referral Desk Training Program unlawfully
                      originated residential home loans by allowing
                      unlicensed AFN employees to communicate terms
                      and conditions and negotiate residential home loans
 8
                      throughout the United States without a valid Branch
 9                    License and a valid Mort~a~e Loan Originator
                     (MLO)License.
io
ii          108. Since at least December 2015, AFN has illegally originated, processes

12    and funded residential home loans by using unlicensed employees to unlawfully
13
      communicate directly to consumers and negotiate the terms and conditions of
19
      residential home loan applications, all against the SAFE Mortgage Licensing Act
15

16    of 2009, the California Finance Lenders Law(CFLL)and the California

17
      Residential Mortgage Lending Act(RHEA).
is
            109. AFN was so brazen in this unlawful activity, that it created a detailed
19

      internal confidential eight(8) page step-by-step training manual (the "Referral
Zo
21    Desk -How To Manual")for AFN employees to illegally facilitate the origination,
22
      processing and funding of residential home loans nationwide. In or about June
23
      2017, Jimmy Vuong(AFN's Compliance Supervisor) provided Mr. Isaacson with
24

25
      a copy of AFN's Referral Desk -How To Manual.
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 60
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 61 of 99 Page ID #:61




             110. AFN's Referral Desk -How To Manual unlawfully states that every
 i
 2     AFN customer will receive aone-half percent higher interest rate on their
 3
       respective residential home loan for the remaining terms. This unlawful action
 4
       affects communities, families and causes systemic risk and harm to global financi
 5

 6
       systems. It also exposes HLJD and the FHA to millions of dollars on actual and

       potential claims on AFN's origination loans.
 8
             1 11. Furthermore, AFN intentionally misrepresented and omitted material
 9
       information during the origination and/or- underwriting process, and thereafter sold
io
ii    these same fraudulent residential home loans to institutional investors such as

12    PennyMac Corporation, Wells Fargo, N.A., Flagstar Bank, Plaza Home Mortgage,
13
      Inc., The Money Source, CMG Financial, Impac, Citibank, N.A., Ditech Financial,
14
      LLC, Newrez, Inc., Calber Home Loans, Inc., JP Morgan Chase, Freedom
15

16    Mortgage, Home Pointe Financial, Mr. Cooper, First Guaranty Mortgage

17
      Corporation, AmeriHome Mortgage Company,LLC,Texas Capital Bank,PHH
is
      Mortgage Corporation, BB&T Bank, Northpointe Bank, Fannie Mae(FNMA)and
19

      Ginnie Mae(GNMA),all for an ill-gotten financial gain.
Zo
21           1 12. During his employment tenure at AFN, Mr. Isaacson voiced his deep
22
      concern on numerous occasions to various AFN executives, including but not
23
      limited to John Sherman (AFN's President), Jonathan Gwin(AFN's Chief
24

25
      Operating Officer), Twyla Hankins(AFN's Executive Vice President of
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 61
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 62 of 99 Page ID #:62




       Operations), David Ross(AFN's Reverse Mortgage Branch Manager), Raul
 i
 2     Esperaza(AFN's Branch Relations Managers) and Brandon Johnson (AFN's

 3
       Branch Relations Coordinator).
 4
             1 13. Mr. Isaacson is in possession ofvast amounts ofdocuments
 s
 6
       confirming all ofthis alleged unlawful behavior, including text messages and

       emails confirming the above. Most damning, he is also in possession ofAFN's
 8
      Referral Desk "How To"Training Manual that camefrom Jimmy Vuong (AFN's
 9
      Referral Desk Compliance Manager) that has detailed step-by-step instructions of
io
ii     AFN's unlawful business practices in this regard.

12                 C.    AFN Referral Desk Program compensated
13
                         unlicensed AFN employees and incentives its
                         unlicensed employees to originate residential home
14                       loans.
15
             1 14. In or about July 2017 and continuing through Mr. Isaacson's wrongful
16
       termination, AFN unlawfully paid commissions to Michael VaVerka(AFN's
i~
18     Referral Desk President, Referral Desk Loan Officer, Division President and

19    Division Manager)and Jonathan Carrico(AFN's Referral Desk Loan
20
       Officer/Manager) to use their Mortgage Origination License("MLO")to illegally
21
       complete and/or fund residential home loans. This was purposely done because
22

23     certain AFN Branches did not have valid MLO and Branch Mortgage Loan

24     Origination Licenses. When an AFN Branch received a residential home loan
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 62
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 63 of 99 Page ID #:63




       application in a state upon which the subject AFN Branch office was not licensed,
 i
 2     AFN corporate derived an unlawful business scheme to fraudulently list a valid
 3
       residential Mortgage Loan Originator License on Fannie Mae's Uniform
 4
       Residential Loan Application Form 1004, which is a clear violation of state and
 5

 6
       federal laws, including various lending laws.

             1 15. Moreover, AFN had already prechosen internal "fall guys", to wit,
 8
       Michael VaVerka(AFN's Referral Desk President, Referral Desk Loan Officer,
 9
       Division President and Division Manager)and/or Jonathan Carrico(AFN's
to
ii    Referral Desk Loan Officer/Manager), in the event AFN's above-referenced

la    criminal activity was discovered by the Consumer Financial Protection Bureau
13
      ("CFPB"), the Federal Bureau of Investigation ("FBI"), institutional investors,
14
      such as PennyMac Corporation, Wells Fargo, N.A., Flagstar Bank, Plaza Home
15

16     Mortgage, Inc., The Money Source, CMG Financial, Impac, Citibank, N.A.,

17
      Ditech, Newrez, Inc., Calber Home Loans, Inc., JP Morgan Chase, Freedom
is
       Mortgage, Home Pointe Financial, Mr. Cooper, First Guaranty Mortgage
19

      Corporation, AmeriHome Mortgage Company, LLC,Texas Capital Bank,PHH
Zo
21     Mortgage Corporation, BB&T Bank, Northpointe Bank, Fannie Mae(FNMA),
22
       Ginnie Mae(GNMA),and customers nationwide.
Lz

             1 16. From time to time during his employment tenure at AFN, Mr.
24

25
      Isaacson conferred with the following AFN executives about whether this conduct
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 63
       Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 64 of 99 Page ID #:64




         was lawful: John Sherman(AFN's President), Jonathan Gwin(AFN's Chief
  i
  2      Operating Officer), Ryan Pinkney (AFN's prior Staff Attorney) and Andy Kay
  3
        (AFN's General Counsel), Michael VaVerka(AFN's Referral Desk President,
  4
         Referral Desk Loan Officer, Division President and Division Manager), Twyla
  5

  6
         Hankins(AFN's Executive Vice President of Operations), Rick Asrani(AFN's

        Director of Underwriting), Jonathan Carrico(AFN's Referral Desk Loan
  s
        Officer/Manager). Nobody took responsibility or wanted to openly discuss this
  9
         unlawful business activity. In fact, Mr. Gwin instructed Mr. Isaacson to never
to
ii      discuss this matter on email or text and only in his office located at Brea's

12      corporate headquarters.
13
               1 17. Mr. and Mrs. Tarin(AFN Loan No.) were one ofthousands of AFN's
i4
        customers that were victimized by AFN's unlicensed and unlawful business
15

16      activity. They received a higher interest rate in cost and higher loan costs because

17
        of AFN's unlicensed activity (See AFN's Referral Desk "How To" Training
is
        Manual that states each customer will receive a one half percent higher rate and/or
19
        cost. To add to this illegal activity, AFN mispresented its loan characteristics to
20

21      the FHA, AFN failed to adequately underwrite this FHA loan, all of which has
22
        caused Mr. and Mrs. Tarin to be currently in default as of April 7, 2021.
23

24

2 `~
             COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 64
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 65 of 99 Page ID #:65




             118. Mr. Isaacson has in his possession emails negotiating the
 i
 2    compensation ofillegally originated residential home loans that were exchanged
 3
       with him during his AFN employment by Mr. I~aVerka and Mr. Gwin.
 4
             1 19. Mr. Isaacson is also in possession ofdocuments confirming all ofthis
 5

 6
      alleged unlawful behavior, including text messages and emails confirming the

      above. He is also in possession AFN's Referral Desk "How To"Training Manual
 s
      that camefrom Jimmy Vuong (AFN's Referral Desk Compliance Manager) that
 9
       has detailed step-by-step instructions ofAFN's unlawful business practices in this
io
ii    regard.

12           III. AFN MISREPRESENTED ITS LOAN ORIGINATION
13
                 SERVICES TO UNITED STATES VETERANS BY
                 KNOWINGLY DECEIVING AND PROMOTING
14               LOAN CHARACTERISTICS THAT COULD NOT BE
                 SATISFIED AND WERE UNLAWFUL
15

16           120. The Economic Growth, Regulatory Relief, and Consumer Protection

17
      Act came into effect on May 22, 2018. It includes The Protecting Veterans From
is
      Predatory Lending Act of 2018 (the Act), a measure designed to protect Veterans
19

      from predatory lending practices known as "loan churning" or "serial refinancing",
Zo
21    when obtaining a VA-guaranteed refinance loan. These practices and other
22
      similar illegal practices not only impact Veterans negatively, but also disrupt the
23
      secondary mortgage market, resulting in higher interest rates to Veterans and low
24

25
      returns to investors in the secondary market.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 65
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 66 of 99 Page ID #:66




             121. As of May 22, 2018, all VA-guaranteed loans must have met the
 i
 2    requirements of this new law. Loan applications taken on or after May 25, 2018,

 3
      that did not meet the following requirements, were not eligible for guaranty by VA
 4
             122. AFN business consisted of soliciting United States Veterans to apply
 5

 6
      for a VA residential home loan with loan-to-value ratios between 90% to 100% of

      the veterans home value. This, in spite of the fact that The Economic Growth,
 8
      Regulatory Relief, and Consumer Protection Act forbid such illegal business
 9
      activity.
io
ii           123. On or about August, 2019, Mr. Isaacson met with John Sherman

12   (AFN's President) and Michael Lensky (AFN's Branch Manager)in Mr.
13
      Sherman's office to review options to increase FHA and VA residential home loan
19
      applications due to how institutional investor's highly compensated AFN for these
15

16    VA residential home loans.

17
             124. During this meeting, Mr. Sherman instructed Mr. Isaacson to
18
      personal and credit data consumer information of United States veterans, including
19

      active service members, and to specifically target these homeowners for a VA
20

21    cash-out refinance that had aloan-to-value ratio between 90% to 100%. This
22
      illegal practice was done in spite of Edward Fink's(AFN's Director of
23
      Compliance) warnings in multiple emails over a year and one-half time period,
24

25
      some of which Mr. Isaacson was copied on, that this business practice was
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 66
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 67 of 99 Page ID #:67




       unlawful. Mr. Sherman did not care. He informed Mr. Isaacson "..that AFN had a
 i
 2    special institutional investor that no other non-bank lenders had access, ..." and

 3
       that AFN "...would greatly profitfrom this business activity..." because FHA and
 4
       VA residential home loans awarded AFN with double compensation.
 5

 6
             125. Adam Holly, from Maryville, California, is just one of hundreds, if

       not thousands of United States Veterans that were harmed by AFN's unlawful
 s
       business practices. He is a veteran of the United States Army who was honorably
 9
       discharged. Mr. Holly, like hundreds of other veterans of the United States armed
to
it    forces, was unknowingly defrauded by AFN. This was done by AFN unlawfully

is    soliciting VA Veterans for cash-out refinances between a 90% to 100% home-to-
13
      loan value in direct conflict with the above-referenced laws. Hundreds of United
14
      States Veterans, including active service members believed that that they were
i5
16    to receive cash out between the 90% to 100% home-to-loan value, when in fact it

17
       was never an option. These same Veterans, including Mr. Holly, paid for appraisal
18
      deposits and termite inspection reports out of their own pocket, believing AFN's
19

      representations that they were eligible for a VA cash out loan between 90% to
,o

       100% home-to-loan value.

             126. Mr. Isaacson complained about this unlawful activity that was
23
      specifically target United States Veterans and active service members in a variety
24

25
      of emails, including text messages and face-to-face meetings with various AFN
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 67
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 68 of 99 Page ID #:68




       executives, including Twyla Hankins(AFN's Executive Vice President of
 i
 2     Operations). After many months of Mr. Isaacson seeing United States Veterans
 3
       and active service members economically harmed by AFN's unlawful, unethical
 4
       and deceptive business practices that it knew were clear violations of federal and
 5

 6
       states laws, AFN told Mr. Isaacson that they no longer were going to target United

       States Veterans and active service members. This, after the fact that AFN caused
 s
       hundreds of thousands of dollars to be needlessly spent by United States Veterans
 9
       and active service members in unneeded home appraisals, termite inspection
io
li     reports, credit reports and various other expenses that AFN demanded the subject

12     United States Veterans and active service members to pay for.
]
.3
             127. Mr. Isaacson is in possession offour thousandfive hundred sixty-
iq
       nine (4,569)scans andfacsimiles to AFN's Brea headquarter (the Branch
15

16    Relations Department, which is situated next to Jonathan Gwin (AFN's Chief

17
       Operating Officer) office. These consist ofPDF's ofAFN'sfraudulently created,
18
       manipulated and/or altered consumer Closing Disclosures on certain AFNfunded
19

      loans that were insured by the FHA and/or were unknowingly purchased by
20
21     institutional investors PennyMac Corporation, Wells Fargo, N.A., Flagstar Bank,
22
      Plaza Home Mortgage, Inc., The Money Source, CMG Financial, Impac,
23
      Citibank, N.A., Ditech Financial, LLC, Newrez, lnc., Calber Home Loans, Inc., JP
24

2s    Morgan Chase, Freedom Mortgage, Home Pointe Financial, Mr. Cooper, First
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 68
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 69 of 99 Page ID #:69



       Guaranty Mortgage Corporation, AmeriHome Mortgage Company, LLC, Texas
 i
 2     Capital Bank, PHH Mortgage Corporation, BB&T Bank, Northpointe Bank,
 3
      Fannie Mae("FNMA ") and Ginnie Mae("GNMA ").
 4
             IV. AFN FAILED TO REPORT OR DISCLOSE A LARGE
 5               DATA CREDIT DATA THEFT OF ITS CURRENT
 6
                 AND PAST CONSUMERS, INCLUDING THEIR
                 CREDIT   REPORT   DATA   AND   PERSONAL
                 INFORMATION
 8
              1 28. In 2003, the United States Congress enacted The Fair and Accurate
 9
      Credit Transactions Act(FACTA). Its stated purpose was to enhance consumer
io
11     protections, particularly in relation to identity theft. The law provides for alerts to

12    protect consumers' credit records, including disclosing data breaches involving
13
      personal information. In addition, the FTC's Safeguards Rule, enacted under the
14
      Gramm-Leach-Bliley Act, requires financial institutions, including lenders like
15

16    AFN,to implement reasonable policies and procedures to ensure the security and

17
      confidentiality of sensitive customer information.
18
             129. In or about June 2018, Mr. Isaacson discovered that AFN was
19

      violating the FTC's Safeguards and Privacy Rules, as well as Section 5 of the
ao
21    Federal Trade Commission Act. AFN routinely obtains credit reports from
22
      consumer- reporting agencies that contain sensitive personal information about
23
      customers and potential customers. AFN violated the Safeguards Rule because it:
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 69
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 70 of 99 Page ID #:70




         • allowed a home seller to use its account for accessing credit reports in order
 i
 2           to refer purchasers for financing without taking reasonable steps to verify the
 3
             seller's procedures to handle, store, or dispose of sensitive personal
 4
             information;
 5

 6
         • failed to assess the risks of allowing a third party to access credit reports

            through its account; and
 s
         • failed to conduct reasonable reviews of credit report requests made on its
 9
             account by using readily available information (such as management reports
io
ii          and invoices) to detect signs of unauthorized activity.

12           130. AFN allowed certain unlicensed employees (i.e., Michael Jacobs, Lisa
13
      Ballard, Sara Tell, Scott Keller and Zachary Hamman and hundreds more)to
14
       illegally access AFN's own Loan Origination System (Encompass)to "hunt for
15

16    new business," which is a violation of state and federal laws. Moreover, in spite of

17
      the legal requirement for credit consent from the consumer prior to pulling credit,
is
       AFN regularly went beyond the required laws by unlawfully accessing and
19

Zo    acquiring personal and credit information of various AFN consumers nationwide.

21    This unlawful business practice was brought to John Sherman(AFN's President)
22
      and Jonathan Gwin(AFN's Chief Operating Officer) on numerous occasions
23
      during Mr. Isaacson's employment, all to no avail.
~4
25
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 70
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 71 of 99 Page ID #:71



             131. In spite of AFN actually catching the employee who confessed to
 i
 2     stealing AFN's consumers credit data, to wit, Michael Jacobs, that Mr. Jacobs was
 3
       making so much money for AFN that they turned a blind eye. They forced Mr.
 4
       Isaacson to fire Mr. Jacobs, but then rehired him and placed him in an AFN branch
 5

 6
       office that nobody would know about. Mr. Isaacson found out about this unlawful

       rehire after reading an AFN newsletter proclaiming individuals that it recently
 8
       hired. The same exact thing happened to Scott Keller, who also confessed to the
 9
       large Data breach. AFN reportedly fired him and claimed to have filed a lawsuit
io
it     against Mr. Keller, however, this was just another sham business maneuver since

12     AFN immediately rehired Mr. Keller, thus turning its back on its lawful
13
      responsibility. This was done simply because AFN was making so much money off
14
      this individual, and other AFN employees who played this same role during Mr.
15

16    Isaacson's employment tenure.

17
             132. This is one of many larger data thefts that occurred at AFN that Mr.
18
      Isaacson witnessed first-hand and brought to the attention to AFN executive with
19

      documentary evidence. In an email dated in or about June 2019, Mr. Isaacson
20

21    informed John Sherman(AFN's President) and Jonathan Gwin(AFN's Chief
22
      Operating Officer) of a screenshot showing the IP addresses ofthe computers used
23
      to unlawfully access AFN's internal computer system. It also showed the Velocity
24

25
      validation that the data breach occurred, by whom and by which user-names and in

          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 71
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 72 of 99 Page ID #:72



       great detail which personal credit information was accessed by unauthorized AFN
 i
 2     employees, all for financial gain. This email further discusses the size of the
 3
       problem and the amount of personal credit records that were compromised, that
 4 I
       being, 1.2 million individual homeowners nationwide. In response, AFN refused
 5

 6
       to want to pay any money resulting from any data theft and simply wanted Mr.

       Isaacson to stop talking about it. John Sherman(AFN's President) informed Mr.
 a
       Isaacson that he would going to look into the matter, however, this illegal conduct
 9
       continued for well over a year during Mr. Isaacson's employment and was the
to
ii     basis of AFN's retaliating against Mr. Isaacson by wrongfully terminating him as

12     discussed hereinbelow.
13
               133. Mr. Isaacson is in possession ofthe written report authored by
14
       Velocity, an Ellie Mae company, which confirmed that the above-referenced data
15

16     theft did infact occur. He is also in possession ofemailsfrom John Sherman

17
     (AFN's President) and Jonathan Gwin (AFN's ChiefOperating Officer) about the
is
       various data thefts and confessionsfrom various past and current AFN employees
19

       about stealing ofconfidential personal datafrom AFN customers.
Zo
21     ///
22
       ~~~

23
       ~~~
29

       ~~~
25

             INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 72
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 73 of 99 Page ID #:73




             V.    AFN UNLAWFULLY SHARED CONFIDENTIAL
 i
                   CONSUMER DATA TO ITS BRANCH OFFICE FOR
 2                 PROFIT, CAUSING HARM TO ITS CUSTOMERS
                   AND IN VIOLATION OF STATE AND FEDERAL
 3
                   LAW
 4
             134. AFN allowed unlicensed employees (i.e., Michael Jacobs, Lisa
 5

 6
      Ballard, Sara Tell, Scott Keller and Zachary Hamman and literally, hundreds

       more AFN employees)to unlawfully gain access and review consumer credit
 8
       reports. In addition, they allowed these very same unlicensed AFN employees to
 9
       access consumer credit files without proper legal disclosures to AFN's customers
io
ii     and without any prior consent. In most cases, these unlicensed AFN employees

12     never spoke to the customer and issued a Denial or a Customer Withdrawal. They
13
       also allowed these same unlicensed employees to provide credit decisions to the
14
       very same fraudulently accessed customer files without valid underwriting
15

16    credentials or training. In fact, AFN charged the costs of its unlawful business

17
       practices to selected AFN Branch Office as a cost. Once these unlicensed
i8
      employees gained commitment from the AFN customer, AFN would then fund the
19
      residential home loan without getting proper licensing by further illegally issuing it
20

21    to its internal Referral Desk Department.
22
             135. Starting in or- about April 2018, Mr•. Isaacson discovered the first data
23
       breach at AFN. He brought this to the attention of John Sherman(AFN's
24

25
      President), Jonathan Gwin (AFN's Chief Operating Officer) and Twyla Hankins
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 73
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 74 of 99 Page ID #:74




      (AFN's Executive Vice President of Operations) on numerous occasions in person
 i
 2     at the Brea headquarters, however, he was told by Ms. Hankins that [sic] "This is
 3
       how John wants it." He also had numerous conversations with Andrew Socratis
 4
       Kalyviaris(AFN's General Counsel) about this unlawful activity. In response, he
 5
 6
       told Mr. Isaacson on several occasions that his Branch Office could also conduct

       itself in this illegal manner to save a lot of money in licensing fees, including the
 8
       time it took to procure a valid branch and mortgage loan originator license to be
 9
       legally compliant.
io
11           136. Mr. Isaacson is in possession ofevery single AFN prospect loan

12     number, cancelled/denied and closed residential home loans, which confirm the
13
       above unlawful business activity in great detail.
14
             VII. THIRTY PERCENT (30%) OF AFN'S UNLAWFUL
15
                  BUSINESS REVENUE DERIVES FROM FOUR
16                INTERNAL DIVISIONS THAT WERE FORMED BY
                  JOHN SHERMAN
i~
18           137. Thirty Percent(30%)of AFN's unlawful business revenue derives

19     from four internal divisions, all of which were formed by John Sherman(AFN's
20
      President). Those four internal divisions are operated by Sam Rumi(AFN
21
       Regional Branch Manager), Michael Matalka(AFN Regional Branch Manager),
22

23     John D'Onofrio(AFN's Head of Retail Branching) and Saaed Atef(AFN's

29     Division President).
25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 74
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 75 of 99 Page ID #:75




             138. These four AFN internal divisions compelled AFN current employees
 i
 2     that had valid Mortgage Loan Origination(MLO)licenses to purposely not renew

 3
       them and instead, illegally instruct these very same and now unlicensed AFN
 4
       employees to continue to operate as though they were licensed. This was achieved
 5

 6
       by AFN listing the subject AFN MLO employee as "the file starter", a term that

       AFN created to illegally mask the true identity of the true residential mortgage 1
 8
       originator.
 9
             139. Since at least in or about July 2017, these illegal business practices
to
ii     were specifically performed at the above-referenced AFN locations operated by

IZ     Mr. Rumi, Mr. Matalka, Mr. D'Onofrio and Mr. Atef.
13
             140. In each of these AFN locations, unlicensed AFN employees are
14
      to place the misrepresented and wrongly disclosed residential home loan
15

16     applications with a validly licensed AFN employee to avoid detection from state

17
       and federal authorities, including HLJD and private institutional investors such as
18
       PennyMac Corporation, Wells Fargo, N.A., Flagstar Bank, Plaza Home Mortgage,
19

      Inc., The Money Source, CMG Financial, Impac, Citibank, N.A., Ditech Financial,
Zo
21    LLC, Newrez, Inc., Calber Home Loans, Inc., JP Morgan Chase, Freedom
22
       Mortgage, Home Pointe Financial, Mr. Cooper, First Guaranty Mortgage
23
      Corporation, AmeriHome Mortgage Company,LLC,Texas Capital Bank,PHH
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 75
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 76 of 99 Page ID #:76




       Mortgage Corporation, BB&T Bank, Northpointe Bank, Fannie Mae(FNMA)and
 i
 2     Ginnie Mae(GNMA).
 3
              141. Most important, this unlawful business activity affect FHA's
 4
       insurance fund negatively by resulting in claims to its FHA insurance resulting
 5

 6
       from AFN's unlawful business practices.

              142. This was done by AFN to reduce licensing and operational costs, and
 8
       to reduce the amount of money paid to its employees for those same activities, in
 9
       additional to increasing the amount of residential home loans that AFN was able to
io
it     close, all by circumventing state and federal laws prohibiting this unlawful

12     business practice.
13
              143. Mr. Isaacson is in possession ofAFNfraudulentfunded reports,
14
      production reports, operations reports, marketing reports, marketing material and
15

16     emails confirming AFN's defective and illegal marketing material that were

17
      addressed to John Sherman (AFN's President), Jonathan Gwin (AFN's Chief
is
       Operating Officer), Ryan Pinkney (AFN's prior StaffAttorney) and Andrew
19

      Socratis Kalyviaris (AFN's General Counsel).
Zo
21    ///
22
      ~~~

23
      ~~~
24

      ~~~
25
             COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 76
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 77 of 99 Page ID #:77




             VIII. AFN UNLAWFULLY TERMINATED ITS FORMER
                   DIRECT ENDORSEMENT UNDERWRITER, TO WIT,
 2                 IKAKYI GONZALEZ, FOR HIS REFUSAL TO SIGN
                   KNOWINGLY FRAUDULENT DOCUMENTS ON
 3
                   BEHALF OF AFN TO BE SUBMITTED TO HUD AND
 4                 THE   UNITED    STATES  DEPARTMENT    OF
                   VETERANS AFFAIRS UNDER PENALTY OF
                   PERJURY, AND THEN THEREAFTER PLANNED A
                   COVER UP OF HIS WRONGFUL TERMINATION

             144.     In or about September, 2018, Rick Asrani(AFN's Director of
 a
       Underwriting) and Twyla Hankins(AFN's Executive Vice President of
 9
       Operations) colluded to come up with a spurious plan to terminate Ikakyi Gonzalez
to
ii (AFN's Direct Endorsement Underwriter)from AFN for his refusal to sign a
12     United States Veterans Affair Form 26-0785 Lenders Staff Appraisal Reviewer
13
      (SAR)Application("SAR Application") on behalf of AFN to the United States
14
      Department of Veterans Affairs("VA"). Specifically, the subject SAR
15

16     Application contained false information regarding his underwriting experience,

17
       which Mr. Gonzales did not have. Mr. Asrani and Ms. Hankins, knowing that Mr.
18
      Gonzales upon hiring did not have the required two years of VA underwriting
19
      experience, still demanded that he execute a SAR Application with false
Zo
21     information. Mr. Gonzales, on multiple occasions, informed Mr. Asrani and Ms.
22
      Hankins that he would not sign the SAR Application under penalty of perjury si
23
      he and AFN clearly knew he did not have the required underwriting experience.
24

25
      This, in spite of the fact that these same AFN executives promised to give a title
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 77
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 78 of 99 Page ID #:78




       promotion and monetary bonus to Mr. Gonzales if he executed the subject SAR
 i
 2    ~ Application on behalf of AFN.
 3
              145. For his refusal to sign a knowingly fraudulent document to the VA,
 4
       Mr. Astrani, Ms. Hankins and Jonathan Gwin(AFN's Chief Operating Officer)
 5

 6
       decided to terminate Mr. Gonzales, cover up the wrongful termination and

       thereafter casted Mr. Gonzales in false light by manipulating loan data and
 s
      employee performance data to support AFN's unlawful termination. Mr. Astrani
 9
      even informed Mr. Isaacson that he personally created an underwriting spreadsheet
io
ii    to substantiate why they terminated Mr. Gonzales in the event AFN was subject to

12    any claim of wrongful termination. Even more shameful was that Mr. Gwin stated
13
      to Mi•. Astrani and Mr. Isaacson in a meeting at AFN's Brea headquarter that had
_~
       Mr. Gonzales signed the subject SAR Application,"...he would had made an easy
IJ



16    $10,000.00 more per month."

17
              146. Mr. Isaacson has in his possession text messages and emails
18
      exemplifying Astrani attempt to extort Mr. Gonzales to execute afraudulent
19

      document to be submitted to the United States Veterans Affairs, which led to AFN':
ao
21    wrongful termination ofMr. Gonzales after he refused to commit this criminal act.
22
      ~~~

23
      ~~~
24

      ~~~
25
             COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 78
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 79 of 99 Page ID #:79




              X.      AFN UNLAWFULLY CHARGED AFN BRANCH
 1
                     MANAGERS, INCLUDING MR. ISAACSON, FOR
 a                   AFN'S EARLY PAYMENT DEFAULTS (EPD) AND
                     EARLY PAYOFF PENALTIES (EPO) CAUSED BY
 3
                     AFN'S   INCONSISTENT   AND    IMPROPER
 4                   UNDERWRITING PROCESS

 5            147. AFN's written policy that is incorporated in its Branch Manager
 6
       employment agreements unlawfully states that AFN Branch Manager pay [sic]

      "Actual corporate costs for any early payoffs(EPO), early payment defaults
 s
 9    (EPD), buybacks, or any other expenses incurred on loans closed by the Branch."
10
              148.     During Mr. Isaacson's employment at AFN,the company illegally
it
       charged its Branch Managers, including NIr. Isaacson, for AFN's Early Payoffs
12

13
       and AFN's Early Payment Default that came as a byproduct of AFN's underling

19     illegal business activities.
15
              149. Although AFN claims to have a written policy of reviewing 10% of
16
       all closed loans and completing an annual audit of its Net Branches, this never
i~
18     occurred. In fact, AFN unlawfully automatically charged its Branch Managers,

19     including Mr. Isaacson, an Audit Fee per month, which was calculated at $12.50
20
       per funded residential home loan, when in fact AFN never conducted the required
21
      audit. AFN has illegally enriched itself with these unlawful business practices, all
22

23    of which are in direct violation of HUD guidelines.

24           150. Starting in or about November 2017 and continuing to his last day of
25

          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 79
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 80 of 99 Page ID #:80




       Jonathan Gwin(AFN's Chief Operating Officer). He responded by telling Mr.
 i
 2     Isaacson that "...this is the `big boys league'and ifAFN does not make money,
 3
       then you [Mr. Isaacson] do not make any money." He also instructed Mr. Isaacson
 4
       to directly contact an AFN customer who recently obtain an AFN residential home
 5

 6
       loan, to personally pay for the customer's monthly mortgage payment paid.

       Otherwise, according to Mr. Gwin, Mr. Isaacson "...would have to pay the
 e
       customers residential monthly mortgage payment." Mr. Isaacson was forced to
 9
       pay customer mortgage payments resulting from AFN's inconsistent, inadequate
io
i~     and unlawful underwriting practices.

i2           XI.    AFN INTENTIONALLY ALTERED IT INTERNAL
-~                  LOAN ORIGINATION SYSTEMS (ENCOMPASS)
                    TO AVOID DISCLOSING THEIR TERMS AND
                    CONDITIONS WITHIN THE THREE (3) DAY
                    TIME PERIOD FOR DISCLOSING AND TO
15
                    REDUCE SHIPPING COSTS REQUIRED BY LAW
16                  WHEN A CONSUMER DOES NOT E-CONSENT

17
            151.    Pursuant to the Truth in Lending Act and the Real Estate Settlement
18
      Procedures Act Integrated Disclosure Rule("TRID" or "TRID Rule"), a creditor is
19

       responsible for ensuring that a Loan Estimate is delivered to its consumer or pl
Zo
21     in the mail to the consumer no later than the third (3~d)business day after receipt of
22
       the consumer's "application" for all residential mortgage loans that are subject to
23
       the TRID Rule. 12 CFR §1026.19(e)(1)(iii). For transactions subject to the TRID
29

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 80
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 81 of 99 Page ID #:81




       Rule, an "application" consists ofthe submission of the following six pieces of
 i
 2     information:
 3
                      1.   The consumer's name;
 4
                    2.     The consumer's income;
 5                    3.   The consumer's social security number to obtain a credit
 6           report;
                   4.      The property address;
                   5.      An estimate ofthe value ofthe property; and
 9                 6.      The mortgage loan amount sought. See 12 CFR
to           §1026.2(a)(3)(ii).

it           152. If the consumer submits these six pieces of information, the

12     requirement to provide a Loan Estimate is triggered, and the creditor rr►ust ensure
13
       that the Loan Estimate is delivered or placed in the mail within three business days.
14
       The creditor or, if a mortgage broker receives a consumer's application, either the
is
16     creditor or the mortgage broker may mail or deliver the Loan Estimate.

17
             153. AFN violated TRID Rules by knowingly altering its own loan
is
       origination system (Encompass). This was done by Joshua Montano (AFN's Loan
19

       Origination System Manager) who at the instruction of Twyla Hankins (AFN's
20

21    Executive Vice President of Operations) and Jonathan Gwin (AFN's Chief
22
       Operating Officer), created a false field within AFN's Loan Origination System
23
       called "Estimated Value." This was done to avoid detection by federal, state and
24

25
      institutional investors and from TRID disclosure requirements.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM, RECOVERY AND ENFORCEMENT ACT OF 1989 - 81
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 82 of 99 Page ID #:82



              154. Although Mr. Isaacson questioned this fraudulent business practice,
 i
 2     Ms. Hankins informed him that John Sherman(AFN's President)"...wanted to
 3
       save shipping costs" and that this way of doing business made it more "...agile."
 4
       Nothing was ever done to correct this illegal conduct in spite of Mr. Isaacson's
 5

 6
       continued repeated inquiries. Instead, Ms. Hankins instructed Mr. Isaacson not to

       bring this subject matter up to John Sherman(AFN's President) and "...to not
 s
       thisfight." In or about August 2018, Ms. Hankins sister, to wit, Debra Sweatt and
 9
       Mr. Isaacson further discussed this unlawful behavior to no avail. Ms. Hankins and
io
ii     Ms. Sweatt actually argued about this unlawful activity in front of Mr. Isaacson.

12     Nothing changed.
13
             155. As a result of AFN's manipulation of its own Encompass as alleged
14
       hereinabove, its caused errors in its disclosure process, including incorrect
15

16     disclosure loan estimates and defective residential home loan applications and

17
       disclosure to its consumers, all of which is a continued violation of TRID Rules.
is
       Some AFN employees (i.e., Clifford Collins) resigned over this unlawful business
19

       practices because they knew what was happening at AFN was unethical and illegal
20

21     Moreover, AFN's fraudulent manipulation of its Loan Origination Program
22
      (Encompass)caused millions of dollars in other related expenses and harm to
23
       consumers nationwide. It also impacted AFN's Branch Managers compensation
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 82
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 83 of 99 Page ID #:83



       plans, including Mr. Isaacson, who lost profit sharing bonuses, efficiency bonuses,
 i
 2     commissions and/or commission overrides.

 3
                                    CAUSES OF ACTIONS
 4
                                  FIRST CAUSE OF ACTION
 s
                               Violations of the False Claims Act

                                  (31 U.S.C.§ 3729(a)(1)(B))
 s
                                     Against All Defendants
 9
                 Use of False Statements —False Loan Certification to HUD
io
ii           157.     Mr. Isaacson, on behalf ofthe United States, incorporates by

12     reference paragraphs 1 through 153 inclusive, as if fully set forth herein.
13
             158. By virtue of the acts described above, in violation of 31 U.S.C.~~'
14
      3729(a)(1)(B), for each of the loans originated from AFN's "franchise" or "net
15

16     branch" operations and submitted to HUD for FHA mortgage insurance, AFN by

17
       and through co-defendants JOHN SHERMAN,JACK SHERMAN,JONATHAN
18
      GWIN and TWYLA HANKINS,and each of them, knowingly made, used, or
19

      caused to be made or used, false records or statements of material to a false and
20

21    fraudulent claim for payment or approval by the United States.
22
             159. Mr. Isaacson is aware that over athree-year period material hereto
23
      thousands of loans originated by AFN were reported as "seriously delinquent" by
24

25
      HUD which is indicative that actual claims have been or will be incurred. Mr.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 83
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 84 of 99 Page ID #:84



       Isaacson is informed and believes that the United States has paid insurance claims,
 1
 2     and incurred losses, related to FHA-insurance mortgages in reliance upon the
 3
       misrepresentations alleged herein that the mortgage was originated in accordance
 4
       with HLJD requirements, including that it was originated by aHUD-approved
 5
 6
       branch.

              160. Pursuant to the False Claims Act, 31 U.S.C. § 3729(a)(1), Defendants,
 s
       and each ofthem, are liable to the United States for a civil penalty of not less than
 9
      $5,500.00 and not more than $22,363.00 for each of the false or fraudulent claims
io
ii     herein as well as actual and treble damages in an amount to be proven at trial.

is     However, on information and belief, the amount of penalties under the False
13
       Claims Act is estimated to be between a minimum of twenty million dollars
14
      ($20,000,000.00) up to a maximum in excess of three hundred and fifteen million
15

16     dollars ($315,000,000.00).

1'
              161. In addition on information and belief, actual damages to be treble are
18
      estimated to be in excess of sixty million dollars ($60,000,000.00).
19

      ~~~
20

21    ~~~

22
      ~~~

23
      ~~~
24

      ~~~
25
             COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
            INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 84
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 85 of 99 Page ID #:85




 i                              SECOND CAUSE OF ACTION

                               Violations of the False Claims Act

                                  (31 U.S.C.§ 3729(a)(1)(B))

                                     Against All Defendants
 5

 6
                 Use of False Statements —False Loan Certification to HUD

             162. Mr. Isaacson, on behalf of the United States, incorporates by
 s
       reference paragraphs 1 through 153 inclusive, as if fully set forth herein.
 9
             163. By virtue of the acts described above, in violation of 31 U.S.C. §
io
ii     3729(a)(1)(B), Defendants, and each of them caused to be made or used false

1z     annual certifications to HUD for each of the branches for which AFN sought
13
       approval for the purpose of fraudulently obtaining HUD approval for such
14
       branches and the FHA-backed loans they originated.
15

16           164.   Mr. Isaacson is aware that over athree-year period material hereto

17
      thousands of loans originated by AFN were reported as "seriously delinquent" by
is
      HUD which is which is indicative that actual claims have been or will be incurred.
19
      The United States paid insurance claims, and incurred losses, relating to FHA-
Zo

21    insurance mortgages originated out of CMC's approved branches based on

22
       misrepresentations that AFN maintained the branches in compliance with HUD
23
      requirements, including certifications that AFN was responsible for the operating
24

25
      costs for the branches.
          COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
         INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 85
        Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 86 of 99 Page ID #:86



                 165. Pursuant to the False Claims Act, 31 U.S.C. § 3729(a)(1), Defendants,
    i
    2     ~ and each of them, are liable to the United States for a civil penalty of not less than
    3
          $5,500.00 and not more than $22,363.00 for each of the false or fraudulent claims
    9
           herein as well as actual and treble damages in an amount to be proven at trial.
    5

    6 '
          However, on information and belief, the amount of penalties under the False

          Claims Act is estimated to be between a minimum oftwenty million dollars
    7
    8
          ($?0,000,000.00) up to a maximum in excess of three hundred and fifteen million
    9
          dollars ($315,000,000.00).
io
ii               166. In addition on information and belief, actual damages to be treble are

12        estimated to be in excess of sixty million dollars ($60,000,000.00).
13
                                     THIRD CAUSE OF ACTION
14
                                   Violations of the False Claims Act
15

16                                    (31 U.S.C. § 3729(a)(1)(A))

17
                                         Against All Defendants
18
                          Causing False Statements —Reckless Underwriting
19

                 167. Mr. Isaacson, on behalf of the United States, incorporates by
Zo
21        ~ reference paragraphs 1 through 163 inclusive, as if fully set forth herein.
22
                 168. Mr. Isaacson, ex rel. United States of America seeks relief against
z
          Defendants under Section 3729(a)(1) ofthe False Claims Act, 31 U.S.C. §
24

25
          3729(a)(1)(2006), and, as amended, Section 3729(a)(1)(A) ofthe False Claims
               COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
              INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 86
       Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 87 of 99 Page ID #:87




         Act, 31 U.S.C. § 3729(a)(1)(A).
  1

  2              169. As set forth above, Defendants, and each of them, knowingly, or
  3
         acting with deliberate ignorance and/or with reckless disregard for the truth,
  4
         presented and/or caused to be presented, to an officer or employee of the United
  5

  6
         States government, false and fraudulent claims for payment or approval in

         connection with its endorsement of FHA-insurance mortgages, by:
  8
                          a. Submitting false annual certifications and making false
  9
                             representation to HUD with respect to AFN's qualifications for
to
-~ .                         Direct Endorsement Lender status; and/or

12                        b. Submitting false loan-level certifications to HUD in endorsing
13
                             mortgages for FHA insurance.
14
                 170. The United States government paid insurance claims, and incurred
15

16       losses, relating to FHA-insured mortgages wrongfully endorsed by AFN.

17
                 171. By reason of the false claims Defendants, the United States
is
         government has been damaged in a substantial amount to be determined at trial,
19

         and is entitled to a civil penalty as required by law for each violation(s).
20

21       ~~~

22
         ~~~

23
        ~~~
24

        ~~~
25
                COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
               INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 87
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 88 of 99 Page ID #:88




                                FOURTH CAUSE OF ACTION

 2                                    Violations of FIRREA
 3
                                      (12 U.S.C.§ 1833a)
 4
                                     Against All Defendants
 5

 6
                               False Loan Certifications to HUD

              172. Mr. Isaacson, on behalf of the United States, incorporates by
 s
       reference paragraphs 1 through 169 inclusive, as if fully set forth herein.
 9
              1 73. By virtue ofthe acts described above, and for the purpose of
io
ii     fraudulently obtaining HUD mortgage insurance in violation of 12 U.S.C. § 1833a,

12     for each of the residential loans originated from its shadow branches that is
13
       currently in default, but for which no insurance claim has been submitted to HUD,
14
       AFN knowingly made, used, or caused to be made or used, false and fraudulent
15

16     records, statements, or certifications and submitted such false and fraudulent

17
       records, statements, and certifications to HUD/FHA in violation of 18 U.S.C. § §
18
       1006 and 1014(as amended).
19

             174. Defendants, and each of them, made these statements to HUD/FHA
Zo
21   ~ ~ with the intent to defraud or deceive HUD/FHA into providing mortgage insurance
22
      (18 U.S.C. § § 1006); and (b)knowingly made false statements for the purpose of
23
      ~ influencing the FHA (18 U.S.C. § § 1014, as amended).
24

25
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 88
      Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 89 of 99 Page ID #:89



              175. Accordingly, for each of the residential loans originated out of its
 i
 2     ~ shadow branches that is in default but on which no claim has been made,
 3
        Defendants are liable for civil penalties to the maximum amount authorized under
 9
        12 U.S.C. § 1833a.
 5

 6                                FIFTH CAUSE OF ACTION

                                       Violations of FIRREA
 8
                                       (12 U.S.C.§ 1833a)
 9

-,                                    Against All Defendants

                               False Branch Certifications to HUD

 ~_           176. Mr. Isaacson, on behalf of the United States, incorporates by
~3
        reference paragraphs 1 through 172 inclusive, as if fully set forth herein.
i4
              177. By virtue of the acts described above, and for the purpose of
15

16     fraudulently obtaining HUD approval for its branches, AFN knowingly made,

17
        used, or caused to be made or used, false and fraudulent records, statements, or
18
       certifications and submitted such false and fraudulent records, statements, and
19

       certifications to HUD/FHA in violation of 18 U.S.C. § 1006; and (b)knowingly
20

21      made false statements for the purpose of influencing the FHA (18 U.S.C. § § 1014,
22
       as amended).
23
              178. Accordingly, for each of the false branch certifications it submitted to
24

25
       HUD,Defendants, and each ofthem, are liable for civil penalties to the maximum
            COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
           1NSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 89
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 90 of 99 Page ID #:90




       amount authorized under 12 U.S.C. § 1833a.
 1

 2                               SIXTH CAUSE OF ACTION
 3
                                     Violations of FIRREA
 4
                                      (12 U.S.C.§ 1833a)
 5

 6                                   Against All Defendants

                              False Annual Certifications to HUD
 8
             179. Mr. Isaacson, on behalf of the United States, incorporates by
 9
       reference paragraphs 1 through 175 inclusive, as if fully set forth herein.
10

li           180. By virtue of the acts described above, and for the purpose of

12     fraudulently obtaining HUD approval as an FHA mortgagee and Direct
13
       Endorsement Lender, AFN knowingly made, used, false annual certifications
14
       stating that AFN had complied with all HUDlFHA requirements, when in fact it
15

16     had not. AFN knowingly submitted false statements for the purpose of influencing

17
       the FHA (18 U.S.C. § § 1014, as amended).
18
             181. The false annual certifications submitted on behalf of ANF between
19

      2017 through 2020 deceived HUD into maintaining AFN as aHUD-approved
Zo
zi     mortgagee and Direct Endorsement Lender, and resulted in HUD paying insurance
22
       claims in excess of$100 million on loans originated or sponsored in those years.
23
             182. Accordingly, for each of the false branch certifications submitted to
29

25
      HUD on behalf of AFN for the years 2017 through 2020, Defendants are liable for
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 90
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 91 of 99 Page ID #:91




       civil penalties to the maximum amount authorized under 12 U.S.C. § 1833a.
 i
 2                             SEVENTH CAUSE OF ACTION
 3
                                      Violations of FIRREA
 9
                                      (12 U.S.C.§ 1833a)
 5

 6
                                     Against All Defendants

                                    False Statement to HUD
 s
             183. Mr. Isaacson, on behalf of the United States, incorporates by
 9
       reference paragraphs 1 through 179 inclusive, as if fully set forth herein.
io
ii           184. By virtue of the acts described above, and for the purpose of

12    fraudulently concealing from HUD AFN's lack of quality control, AFN knowingly
13
       made, used, or caused to be made false statement to HUD/FHA and made, used, or
14
      caused to be made false and fraudulent records and submitted such false and
15

16    fraudulent records to HUD/FHA in violation of 18 U.S.C. § § 1006 and 1014).

17
             185. Defendants, and each ofthem,(a) made statements to HUD?FHA
18
       with the intent to defraud or deceive HUD/FHA concerning AFN's maintenance o
19

       a quality control plan (18 U.S.C. § 1006); and (b)knowingly made false statemen
20
21    for the purpose of influencing the FHA (18 U.S.C. § 1004).
22
             186. Accordingly, for each of the false statements and records submitted or
23
      caused to be submitted to HUD,Defendants are liable for civil penalties to the
24

25
       maximum amount authorized under 12 U.S.C. § 1833a.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 91
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 92 of 99 Page ID #:92




                                EIGHTH CAUSE OF ACTION
 i
 a                             Violations of The False Claims Act
 3
                                      (12 U.S.C.§ 1833a)
 4
                                     Against All Defendants
 5

 6
                          Retaliation in Violation of False Claims Act

             187. As a separate and distinct cause of action, Mr. Isaacson complains
 a
       realleges all ofthe allegations contained in this complaint and incorporates them
 9
       by reference into this cause of action as though fully set forth herein, excepting
io
11     those allegations which are inconsistent with this cause of action.

12           188. The False Claims Act protects whistleblowers(employees)from
13
       retaliation by their employers. The anti-retaliation provision of the False Claims
14
       Act prohibits an employer from retaliating against an employee "because of lawful
15

16     acts done by the employee ... in furtherance of an action under this section or

17
       other efforts to stop 1 or more violations." 31 U.S.C. §3730(h).
18
             189. Prohibited retaliation includes termination, suspension, demotion,
19

       harassment, or any other discrimination in the terms and conditions of
Zo
21    employment.
22
             190. As described hereinabove, Mr. Isaacson actually and reasonably
23
       believed that AFN's unlawful actions listed above violated federal statutes, rules
24

25
      and regulations. Because Mr. Isaacson reasonably believed that AFN was
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 92
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 93 of 99 Page ID #:93




       committing a fraud on the United States government, and because Mr. Isaacson
 i
 2     reasonably believed that such fraud constituted a violation of federal fraud statutes

 3
       and regulations, including without limitation, the mail fraud, wire fraud, bank
 4
       and securities fraud statutes, Mr. Isaacson is entitled to bring his claims here. Mr.
 5

 6
       Isaacson further believed that his disclosures to AFN's upper management, and the

       retaliation he experienced because of same, entitle him to bring his claims here.
 8
             191. Mr. Isaacson engaged in various protected err►ployment activities, to
 9
       wit, reporting AFN's unlawful business activity as alleged hereinabove, actions
io
11     which were in violation of a state or federal statute or a violation of or

12     noncompliance with a local, state, or federal rule or regulation to a person with
13
       authority over the employee or another employee who has the authority to
14
       investigate, discover, or correct the violation or noncompliance.
15

16           192. Mr. Isaacson engaged in activities protected by 31 U.S.C. §3730(h),

17
       by inter alia making formal or informal complaints to one or more supervisors and
is
       executives, and/or to a governmental entity, regarding unlawful and/or violations)
19

       of a state andlor federal statute and/or a violation of or noncompliance with a local,
Zo
21     state, or federal rule or regulation, which are "protected activities." As such, any
22
       adverse actions taken by an employer against the employee because he made such
23
       complaints pursuant to 31 U.S.C. §3730(h), may constitute retaliation against that
24

25
       employee.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM, RECOVERY AND ENFORCEMENT ACT OF 1989 - 93
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 94 of 99 Page ID #:94




              193. AFN's conduct as alleged herein was motivated by its desire to
 i
 2     retaliate against him because he reported or disclosed information to a person
 3
       with authority over the employee or another employee who has the authority to
 4
       investigate, discover, or correct the violation or noncompliance, or to a
 5

 6
       governmental agency, and the employee has reasonable cause to believe that the

       information discloses a violation of state and/or federal statute(s), or a
 s
       violations) of or noncompliance with a local, state, or federal rule or
 9
       regulation(s), regardless of whether disclosing the information is part of his job
io
li     duties.

12           194. As detailed hereinabove, Mr. Isaacson repeatedly complained of
13
       AFN's unlawful business conduct and inactions all to no avail. Further, Mr.
14
      Isaacson alleges AFN was aware of and failed to remedy AFN's reported unlawful
15

16     business practice, wherein it retaliated against Mr. Isaacson with continued

17
       harassment and further forced Mr. Isaacson to discontinue his employment as a
18
      constructive discharge.
19

             195. As a result of Mr. Isaacson's opposition to AFN's unlawful business
Zo
21     practices, Mr. Isaacson suffered contemporaneous, and materially adverse
22
      employment effects including constructive discharge. Further, Mr. Isaacson
23
      ~ suffered verbal abuse and harassment which would impair the job performance of
24

25
      any reasonable worker in the same or similar circumstances.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 94
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 95 of 99 Page ID #:95




              196. Moreover, Mr. Isaacson was forced to resign wherein he refused to
 1
 2     further subject himself to the harassment and abuse of co-defendant John Sherman,
 3
       in retaliation for his whistleblowing activities of AFN's unlawful business
 4
       practices.
 5

 6
              197. Further, as a result of Mr. Isaacson's opposition, Mr. Isaacson was

       denied material employment benefits of wages and other benefits of employment

       with AFN.
 9
              198. As a direct, foreseeable, and proximate cause of AFN's unlawful
io
ii     retaliation, Mr. Isaacson suffered and continues to suffer losses in earnings and

is    employment benefits, damage to his professional reputations, career opportunities,
13
      employment benefits, and other incidental and consequential damages and losses,
14
      all in an amount to be proven at trial.
15

16            199. As a further direct, foreseeable, and proximate result of AFN's

17
       unlawful conduct, Mr. Isaacson has suffered extreme and severe mental anguish,
18
      humiliation, emotional distress, loss of enjoyment of life, nervousness, tension,
19

      anxiety and depression, resulting in damages in an amount to be proven at the time
Zo
21    of trial.
22
             200. The acts of AFN were done fraudulently, maliciously and
23
      oppressively and with the advance knowledge, conscious disregard, authorization,
24

25
      ratification or act of oppression on the part of AFN's officers, directors, or
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 95
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 96 of 99 Page ID #:96




       managing agents of the corporation. The actions and conduct of AFN were
 i
 a     intended to cause injury to Mr. Isaacson and constituted deceit and concealment of ~

 3
       material facts known to AFN with the intention on the AFN's part to deprive Mr.
 4
       Isaacson of property and legal rights,justifying an award of exemplary and
 5

 6
       punitive damages in an amount according to proof.

             201. Relief under 31 U.S.C. 3730 (h)shall include reinstatement with the
 8
       same seniority status that employee, contractor, or agent would have had but for
 9
       the discrimination, 2 times the amount of back pay, interest on the back pay, and
10

ii     compensation for any special damages sustained as a result ofthe discrimination,

IZ     i ncluding litigation costs and reasonable attorneys' fees. An action under this
13
      subsection may be brought in the appropriate district court of the United States for
14
      the relief provided in this subsection.
15

16                                  PRAYER FOR RELIEF

17
             WHEREFORE,plaintiffIAN ISAACSON,ex rel. United States of
is
       America, prays for monetary judgment and equitable relief against defendant
19

       AMERICAN FINANCIAL NETWORK,INC. as follows:
Zo
21           A.     For actual damages in an amount to be proven at trial but which are
22
      estimated to be in excess of sixty million dollars ($60,000.00)from defaulted
23
      loans from shadow branches that have resulted in claims paid by the United
24

25
      States, and civil penalties for the maximum amount allowed by law.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 96
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 97 of 99 Page ID #:97




             B.     For civil penalties in the maximum amount of $22,363.00 for each
 i
 2     of Defendants' violations ofthe False Claims Act to be proven at trial but which

 3
       are estimated to be in excess of three hundred and fifteen million dollars
 4
      ($315,000,000.00).
 5

 6
             C.    For treble damages in an amount to be proven at trial but which are

       estimated to exceed one hundred and eighty million dollars ($180,000,000.00)
 s
       pursuant to the False Claims Act, 31 U.S.C. Section 3729(a), plus civil penalties
 9
       as are required by law, which currently are on the range between $5,500.00 and
io
li    $11,500.00 per violation ofthe False Claims Act, postjudgment interest, costs

is     and other such relief as may be necessary and proper, including but not limited to
13
       reasonable attorneys' fees and costs.
14
             D.    For all costs and expenses incurred by Mr. Isaacson in this action,
15

16     pursuant to 31, U.S.C. § 3729(a) with interest as well as the costs and expenses

17
       incurred by the United States.
18
             E.    For civil penalties pursuant to FIRREA for each claim up to the
19

       maximum amount of one million dollars ($1,000,000.00), or the amount of gain
Zo
21    to Defendants, and each of them, or, if greater, the amount of the loss to HUD
22
      stemming from such conduct, post judgment interest, costs and other such relief
23
      as may be necessary and proper, including but not limited to reasonable
24

Zs    attorneys' fees and costs.
           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 97
     Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 98 of 99 Page ID #:98



             F.     In the event the United States intervenes and proceeds with this
 i
 2     action, for an award in favor of Mr. Isaacson for brining this action in the amount
 3
       of at least fifteen percent(15%)but not more than twenty-five percent(25%)of
 4
       the proceeds in the action.
 5

 6
             G.    In the event the United States does not intervenes or otherwise

       proceed with this action, for an award in favor of Mr. Isaacson for bringing this
 s
       action in the amount of at least twenty-five percent(25%)of the proceeds in the
 9
       action.
io
ii           H.    For an award of any such further relief as is deemed proper.

la     JUNE 30, 2021                 THE LAW OFFICE QF JEFFREY G. JACOBS
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                                                    A O     Y FOR PLAINTIFF,
i~                                                  IAN ISAACSON
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           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
          INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 98
      Case 8:21-cv-01144-MEMF-DFM Document 1 Filed 07/01/21 Page 99 of 99 Page ID #:99



                              DEMAND FOR JURY BY JURY
 1
                  Plaintiff Ian Isaacson, ex rel. United States of America, hereby
 2

 3      demands a trial by jury on all issues triable by jury.

 4      JUNE 30, 2021                  THE LAW OFFICE OF JEFFREY G. JACOBS
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           COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT AND FINANANCIAL
           INSTITUTIIONS REFORM,RECOVERY AND ENFORCEMENT ACT OF 1989 - 99
